USCA11 Case: 14-15040    Document: 13    Date Filed: 05/08/2015   Page: 1 of 204



                                14-15040-F


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT



                        MATTHEW DAVID AYERS

                              APPELLANT

                                   VS.

                   UNITED STATES OF AMERICA

                               APPELLEE

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ALABAMA

           (DISTRICT COURT NO: 5:14-CR-117-LSC-SGC)
__________________________________________________________________

                          RECORD APPENDIX

                    MATTHEW DAVID AYERS
__________________________________________________________________

                                                      W. Scott Brower
                                                      Attorney for Appellant
                                                      Brower Law Office
                                                      P.O. Box 130249
                                                      Birmingham, AL 35213
                                                      (205) 458-9889
USCA11 Case: 14-15040        Document: 13   Date Filed: 05/08/2015   Page: 2 of 204



                         RECORD APPENDIX INDEX


Docket Sheet                                                          A

Indictment                                                            1

Plea Agreement                                                        19

Government’s Sentencing Memorandum (Sealed)                           25

Defendant Sentencing Memorandum                                       27

Presentence Investigative Report      (Sealed)                        32

Judgment                                                              34

Notice of Appeal                                                      38

Transcript of Plea Hearing                                            50

Transcript of Sentencing Hearing                                      51

Certificate of Service                                                B
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 3 of 204




                                  A
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
              USCA11 Case: 14-15040                       Document: 13             Date Filed: 05/08/2015           Page: 4 of 204
                                                                                                                       CLOSED,APPEAL

                                       U.S. District Court
                           Northern District of Alabama (Northeastern)
                    CRIMINAL DOCKET FOR CASE #: 5:14­cr­00117­LSC­SGC­2


  Case title: USA v. Ayers et al                                                               Date Filed: 04/30/2014
                                                                                               Date Terminated: 10/23/2014

  Assigned to: Judge L Scott Coogler
  Referred to: Magistrate Judge Staci G
  Cornelius
  Appeals court case number: 14­15040­F

  Defendant (2)
  Matthew David Ayers                                                     represented by W Scott Brower
  TERMINATED: 10/23/2014                                                                 BROWER LAW OFFICE
                                                                                         2107 5th Avenue North, Suite 203
                                                                                         P O Box 130249
                                                                                         Birmingham, AL 35213
                                                                                         205­458­9889
                                                                                         Fax: 205­458­9892
                                                                                         Email: wscottbrower@bellsouth.net
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: CJA Appointment

  Pending Counts                                                                                Disposition
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (11)                                                                                          sep/consec;
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (13)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (15)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (17)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (19)                                                                                          sep/consec
                                                                                                TOTAL CBP 9,000 mos: 360 mos as to
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                              1/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
         USCA11 Case:
  18:2251(a)and(e)and    14-15040
                      2 SEXUAL                            Document: 13             Date Filed:
                                                                                            ODD05/08/2015   Page:
                                                                                                  numbered cts 11­575 and
                                                                                                                      of 204
                                                                                                                          89,
  EXPLOITATION OF CHILDREN                                                                      sep/consec
  (21)
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (23)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (25)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (27)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (29)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (31)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (33)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (35)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (37)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (39)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (41)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (43)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (45)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (47)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (49)                                                                                          sep/consec
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                              2/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
              USCA11 Case: 14-15040                       Document: 13             Date Filed: 05/08/2015
                                                                                            TOTAL           Page:
                                                                                                    CBP 9,000 mos:6360
                                                                                                                    of 204
                                                                                                                        mos as to
  18:2251(a)and(e)and 2 SEXUAL
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (51)                                                                                          sep/consec

  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (53)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (55)                                                                                          sep/consec
  18:2251(a)and(e)and 2 SEXUAL                                                                  TOTAL CBP 9,000 mos: 360 mos as to
  EXPLOITATION OF CHILDREN                                                                      ODD numbered cts 11­57 and 89,
  (57)                                                                                          sep/consec
                                                                                                TOTAL CBP 9,000 mos: 360 mos as to
  18:2251(a)and(e)and 2 SEXUAL
                                                                                                ODD numbered cts 11­57 and 89,
  EXPLOITATION OF CHILDREN
                                                                                                sep/consec; SRT LIFE; No fine; AF
  (89)
                                                                                                $2500.00

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                                             Disposition
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (12)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (14)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (16)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (18)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (20)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (22)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (24)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                                   3/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama

  (26)        USCA11 Case: 14-15040                       Document: 13             Date Filed: 05/08/2015
                                                                                            GRANTED    on thePage:
                                                                                                              record7 at
                                                                                                                      of sentencing
                                                                                                                          204

  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (28)                                                                                          GRANTED on the record at sentencing

  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (30)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (32)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (34)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (36)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (38)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (40)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (42)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (44)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (46)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (48)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (50)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (52)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (54)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                                   4/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
       USCA11 Case:
  EXPLOITATION      14-15040
               OF CHILDREN                                Document: 13             Date Filed: 05/08/2015
                                                                                            numbered          Page:
                                                                                                      cts 12­58,     8 of
                                                                                                                 ct 90,   204
                                                                                                                        and ct 107 ­
  (56)                                                                                          GRANTED on the record at sentencing
  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (58)                                                                                          GRANTED on the record at sentencing

  18:2251(b)and(e)and 2 SEXUAL                                                                  Govt's oral motion to dismiss EVEN
  EXPLOITATION OF CHILDREN                                                                      numbered cts 12­58, ct 90, and ct 107 ­
  (90)                                                                                          GRANTED on the record at sentencing
  18:2252A(a)(5)(B)and(b)
  (2)ACTIVITIES RE MATERIAL                                                                     Govt's oral motion to dismiss EVEN
  CONSTITUTING/CONTAINING                                                                       numbered cts 12­58, ct 90, and ct 107 ­
  CHILD PORNO                                                                                   GRANTED on the record at sentencing
  (107)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                                                    Disposition
  None



  Plaintiff
  USA                                                                     represented by Joyce White Vance, US Attorney
                                                                                         US ATTORNEY'S OFFICE
                                                                                         1801 4th Avenue North
                                                                                         Birmingham, AL 35203­2101
                                                                                         244­2001
                                                                                         Email: usaaln.ecfusa@usdoj.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Retained

                                                                                                US Probation
                                                                                                UNITED STATES PROBATION
                                                                                                OFFICE
                                                                                                Robert Vance Bldg.
                                                                                                1800 5th Avenue North
                                                                                                Birmingham, AL 35203
                                                                                                716­2900
                                                                                                Email: alnpdb_cmecf@alnp.uscourts.gov
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED
                                                                                                Designation: Retained

                                                                                                USM
                                                                                                UNITED STATES MARSHAL
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                                   5/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
              USCA11 Case: 14-15040                       Document: 13             Date Filed: 05/08/2015
                                                                                            Hugo             Page: 9Room
                                                                                                  Black Courthouse,  of 204240
                                                                                                1729 5th Avenue North
                                                                                                Birmingham, AL 35203
                                                                                                205­731­1712
                                                                                                Email: usms­aln­courts@usdoj.gov
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED
                                                                                                Designation: Retained

                                                                                                Mary Stuart Burrell
                                                                                                US ATTORNEY'S OFFICE
                                                                                                400 Meridian Street, Suite 304
                                                                                                Huntsville, AL 35801
                                                                                                256­534­8285
                                                                                                Fax: 256­539­3270
                                                                                                Email: mary.stuart.burrell@usdoj.gov
                                                                                                LEAD ATTORNEY
                                                                                                ATTORNEY TO BE NOTICED
                                                                                                Designation: Retained

   Date Filed               #    Docket Text
   04/30/2014               1 INDICTMENT



                                 Please file all subsequent documents using the criminal case number assigned
                                 to this indictment. as to Patricia Allana Ayers (1) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9,
                                 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31,
                                 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53,
                                 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75,
                                 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97,
                                 98, 99, 100, 101, 102, 103, 104, 105, 106, 107, Matthew David Ayers (2) count(s)
                                 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32,
                                 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54,
                                 55, 56, 57, 58, 89, 90, 107. (HBB, ) (Additional attachment(s) added on 5/2/2014: #
                                 1 signed indictment (sealed)) (HBB, ). (Entered: 05/02/2014)
   05/02/2014                    Set/Reset Hearings as to Patricia Allana Ayers, Matthew David Ayers: Arraignment
                                 set for 5/14/2014 10:00 AM in Federal Courthouse, Huntsville, AL before
                                 Magistrate­Judge Harwell G Davis III. (HBB, ) (Entered: 05/02/2014)
   05/05/2014               3 Application for Writ of Habeas Corpus ad Prosequendum as to Matthew David
                              Ayers (Burrell, Mary) (Entered: 05/05/2014)
   05/05/2014                    Writ of Habeas Corpus ad Prosequendum Issued Lauderdale County Jail, Florence,
                                 AL as to Patricia Allana Ayers, Matthew David Ayers for Wednesday, 5/14/2014 @
                                 10:00 a.m. in Huntsville, AL (HBB, ) (Entered: 05/05/2014)
   05/12/2014                    Attorney update in case as to Matthew David Ayers. Attorney W Scott Brower for
                                 Matthew David Ayers added as CJA counsel. (SHB, ) (Entered: 05/12/2014)

https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                                6/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
          USCA11 Case:
   05/12/2014          14-15040
                 6 NOTICE        Document: APPEARANCE:
                             OF ATTORNEY    13 Date Filed: W 05/08/2015
                                                                Scott BrowerPage: 10 of for
                                                                             appearing   204
                    Matthew David Ayers (Brower, W) (Entered: 05/12/2014)
   05/13/2014               9 SCHEDULING ORDER AND NOTICE as to Matthew David Ayers Signed by
                              Magistrate Judge Staci G Cornelius on 5/13/14(CJV) (Entered: 05/13/2014)
   05/13/2014             10 STANDING ORDER as to Matthew David Ayers Signed by Magistrate Judge Staci
                             G Cornelius on 5/13/14(CJV) (Entered: 05/13/2014)
   05/13/2014             11 RESPONSE to by USA as to Patricia Allana Ayers, Matthew David Ayers (Burrell,
                             Mary) (Entered: 05/13/2014)
   05/14/2014                    Minute Entry for proceedings held before Magistrate Judge Harwell G Davis,
                                 III:Initial Appearance and Arraignment as to Matthew David Ayers (2) Count
                                 11,12,13,14,15,16,17,18,19,20,21,22,23,24,25,26,27,28,29,30,31,32,33,34,35,36,37,
                                 38,39,40,41,42,43,44,45,46,47,48,49,50,51,52,53,54,55,56,57,58,89,90,107 held on
                                 5/14/2014; charges and rights explained; dft deemed eligible for court appt counsel;
                                 Scott Brower appt and present for dft; dft wvd rdg of indictment and entered plea of
                                 not guilty; bond not an issue as dft on writ; dft remanded to custody of USM
                                 pending disposition of case (Court Reporter C. Decker.) (SHB, ) (Entered:
                                 05/14/2014)
   05/28/2014             13 MOTION for Medical Exam by Matthew David Ayers. (Brower, W) (Entered:
                             05/28/2014)
   06/10/2014                    Set as to Matthew David Ayers: Telephone Conference set for 6/11/2014 09:00 AM
                                 in Chambers Hugo L Black US Courthouse, Birmingham, AL before Magistrate
                                 Judge Staci G Cornelius(CJV) (Entered: 06/10/2014)
   06/11/2014             14 MOTION to Withdraw Document 13 MOTION for Medical Exam by Matthew
                             David Ayers. (Brower, W) (Entered: 06/11/2014)
   06/11/2014                    Minute Entry for proceedings held before Magistrate Judge Staci G Cornelius:Tele
                                 Conf as to Matthew David Ayers held on 6/11/2014; dft will electronically file a
                                 detailed motion to wd #13 motion for med exam; conf adj;(Court Reporter Sabrina
                                 L.)(CJV) (Entered: 06/11/2014)
   06/11/2014             15 ORDER withdrawing 13 Motion for Medical Exam as to Matthew David Ayers (2);
                             granting 14 Motion to Withdraw #13 motion as to Matthew David Ayers (2)Signed
                             by Magistrate Judge Staci G Cornelius on 6/11/14(CJV) (Entered: 06/11/2014)
   06/11/2014                    NOTICE OF HEARING as to MATTHEW DAVID AYERS: Change of Plea
                                 Hearing set for Thursday, 6/26/2014, at 11:00 AM, CR 5B, Hugo L Black US
                                 Courthouse, Birmingham, AL before Judge L Scott Coogler. (YMB) (Entered:
                                 06/11/2014)
   06/26/2014                    Minute Entry for proceedings held before Judge L Scott Coogler:Change of Plea
                                 Hearing as to Matthew David Ayers held on 6/26/2014. Guilty Plea entered by
                                 Matthew David Ayers (2) as to Cts
                                 11,13,15,17,19,21,23,25,27,29,31,33,35,37,39,41,43,45,47,49,51,53,55,57, and 89;
                                 dft consented to pay restitution and to an order of forfeiture as noted in the plea
                                 agreement; Govt will move to dismiss all remaining cts as to this dft at sentencing.
                                 Court accepted plea and adjudged dft guilty as charged in the aforementioned Cts of
                                 the Indictment. Dft remanded to custody of USM pending sentencing hearing.
                                 (Court Reporter Lindy Fuller.) (YMB) (Entered: 06/27/2014)
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                             7/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
             USCA11 Case: 14-15040                       Document: 13             Date Filed: 05/08/2015            Page: 11 of 204
   06/26/2014             18 GUILTY PLEA ADVICE OF RIGHTS CERTIFICATION by Matthew David
                             Ayers. (YMB) (Entered: 06/27/2014)
   06/26/2014             19 PLEA AGREEMENT as to Matthew David Ayers. (YMB) (Entered: 06/27/2014)
   06/27/2014             21 ORDER as to Matthew David Ayers: Sentencing set for Wednesday, 10/22/2014,
                             at 9:30 AM, 2nd Floor District Courtroom, Federal Building, Tuscaloosa, AL
                             before Judge L Scott Coogler. Signed by Judge L Scott Coogler on 6/27/14. (YMB)
                             (Entered: 06/27/2014)
   10/20/2014             23 MOTION to Seal Document by USA as to Matthew David Ayers. (Burrell, Mary)
                             (Entered: 10/20/2014)
   10/20/2014                    ORDER GRANTING 22 and 23 Motions to Seal Documents as to Patricia Allana
                                 Ayers and Matthew David Ayers. Signed by Judge L Scott Coogler on 10/20/14.
                                 (YMB) (Entered: 10/20/2014)
   10/20/2014             25 Sealed Document as to Matthew David Ayers. (YMB) (Entered: 10/20/2014)
   10/21/2014             27 SENTENCING MEMORANDUM by Matthew David Ayers (Brower, W)
                             (Entered: 10/21/2014)
   10/22/2014                    Minute Entry for proceedings held before Judge L Scott Coogler:Sentencing held
                                 on 10/22/2014 for Matthew David Ayers (2). Govt's oral motion to dismiss EVEN
                                 numbered cts 12­58, ct 90, and ct 107 ­ GRANTED. Govt's oral motion to w/d
                                 forfeiture ­ GRANTED. GX1 admitted into evidence UNDER SEAL. SENTENCE:
                                 TOTAL CBP 9,000 mos: 360 mos as to ODD numbered cts 11­57 and 89,
                                 sep/consec; SRT LIFE w/spec conds: Sex Offender conds; No fine; AF $2500.00
                                 due immediately. Dft remanded to custody of USM. (Court Reporter Lindy Fuller.)
                                 (YMB) (Entered: 10/23/2014)
   10/23/2014             32 PRESENTENCE INVESTIGATION REPORT (Sealed) as to Matthew David
                             Ayers filed w/USP (HBB, ) (SMH2, ). (Entered: 10/23/2014)

   10/23/2014             33 Sentencing Recommendations (Sealed) as to Matthew David Ayers filed w/USP
                             (HBB, ) (SMH2, ). (Entered: 10/23/2014)
   10/23/2014             34 JUDGMENT as to Matthew David Ayers (2), Govt's oral motion to dismiss EVEN
                             numbered cts 12­58, ct 90, and ct 107 ­ GRANTED on the record at sentencing;
                             TOTAL CBP 9,000 mos: 360 mos as to ODD numbered cts 11­57 and 89,
                             sep/consec; SRT LIFE; No fine; AF $2500.00. Signed by Judge L Scott Coogler on
                             10/23/2014. (HBB, ) (Entered: 10/23/2014)
   10/23/2014             35 SOR ­ Sealed Document as to Dft 2, Matthew David Ayers (HBB, ) (Entered:
                             10/23/2014)
   10/29/2014             36 Writ of Habeas Corpus ad Prosequendum (issued 5/5/14) Returned Executed as to
                             Matthew David Ayers on 10/29/14. Dft del to Lauderdale Co. Jail. (SMH2, )
                             (Entered: 11/03/2014)
   11/05/2014             38 NOTICE OF APPEAL by Matthew David Ayers (Brower, W) (Entered:
                             11/05/2014)
   11/05/2014             40 Transmittal Letter as to Matthew David Ayers re 38 Notice of Appeal ­ Final
                             Judgment (HBB, ) (Entered: 11/05/2014)
https://ecf.alnd.uscourts.gov/cgi­bin/DktRpt.pl?939111995946689­L_1_0­1                                                               8/10
5/6/2015                                                CM/ECF ­ U.S. District Court Northern District of Alabama
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   11/05/2014    Case: 14-15040 ofDocument:
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                                   Notice of Appeal      Filed: 05/08/2015
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                                                                 Sheet as to Matthew   of 204
                                                                                     David Ayers to
                    US Court of Appeals re 38 Notice of Appeal ­ Final Judgment (HBB, ) (Entered:
                    11/05/2014)
   11/14/2014                    USCA Case Number as to Matthew David Ayers 14­15040­F for 38 Notice of
                                 Appeal ­ Final Judgment filed by Matthew David Ayers. (HBB, ) (Entered:
                                 11/14/2014)
   11/18/2014             47 TRANSCRIPT REQUEST Part I filed by atty S Brower as to dft Matthew David
                             Ayers for Plea Hearing held on 6/26/2014; for Sentencing hearing held on
                             10/22/2014 both hrgs both Judge Coogler (DWC, ) cm J Musso, crtrptr L Fuller
                             (Entered: 11/19/2014)
   03/16/2015             50 Transcript filed as to Matthew David Ayers for dates of 6/26/2014 Plea Hearing
                             before Judge Coogler, re 38 Notice of Appeal ­ Final Judgment Court
                             Reporter/Transcriber L. Fuller. Transcript may be viewed at the court public
                             terminal or purchased through the Court Reporter/Transcriber before the deadline
                             for Release of Transcript Restriction. After that date it may be obtained through
                             PACER. NOTICE: The parties have seven (7) calendar days to file with the Court a
                             Notice of Intent to Request Redaction of this transcript. If no such Notice is filed,
                             the transcript will be made remotely electronically available to the public without
                             redaction after 90 calendar days. a copy can be obtained at
                             http://www.alnd.uscourts.gov/local/court%20forms/transcripts/Transcript%
                             20Redaction%20Policy.pdf See Transcript Redaction Policy Redaction Request due
                             4/6/2015. Redacted Transcript Deadline set for 4/16/2015. Release of Transcript
                             Restriction set for 6/14/2015. (Attachments: # 1 signature page)(21 pages)(HBB, )
                             (Entered: 03/16/2015)
   03/16/2015             51 Transcript filed as to Matthew David Ayers for dates of 10/22/2014 Sentencing
                             Hearing before Judge Coogler, re 38 Notice of Appeal ­ Final Judgment Court
                             Reporter/Transcriber L. Fuller. Transcript may be viewed at the court public
                             terminal or purchased through the Court Reporter/Transcriber before the deadline
                             for Release of Transcript Restriction. After that date it may be obtained through
                             PACER. NOTICE: The parties have seven (7) calendar days to file with the Court a
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                             redaction after 90 calendar days. a copy can be obtained at
                             http://www.alnd.uscourts.gov/local/court%20forms/transcripts/Transcript%
                             20Redaction%20Policy.pdf See Transcript Redaction Policy Redaction Request due
                             4/6/2015. Redacted Transcript Deadline set for 4/16/2015. Release of Transcript
                             Restriction set for 6/14/2015. (Attachments: # 1 signature page)(15 pages)(HBB, )
                             (Entered: 03/16/2015)
   03/16/2015                    Pursuant to F.R.A.P. 11(c), the Clerk of the District Court for the Northern District
                                 of Alabama certifies that the record is complete for purposes of this appeal re: 38
                                 Notice of Appeal ­ Final Judgment, as to Dft #2, Matthew Ayers, Appeal No. 14­
                                 15040­FF. The entire record on appeal is available electronically, (HBB, ) (Entered:
                                 03/16/2015)



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USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 14 of 204




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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 1 of 111         FILED
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 15 of 2014
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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                                                                   JWV/MSB: MAY 2014
                                                                              GJ#22

               IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF ALABAMA

                        NORTHEASTERN DIVISION

UNITED STATES OF AMERICA )
                          )
    v.                    )
                          )
PATRICIA ALLANA AYERS and )
MATTHEW DAVID AYERS       )

                                 INDICTMENT

COUNT ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

6119330, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 2 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 16 of 204


interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 6119330, and that the defendant

knew and had reason to know that such visual depiction would be transported and



                                         2
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 3 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 17 of 204


transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

6119331, and that the defendant knew and had reason to know that such visual



                                         3
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 4 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 18 of 204


depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 6119331, and that the defendant



                                         4
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 5 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 19 of 204


knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number



                                         5
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 6 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 20 of 204


6119332, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual



                                         6
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 7 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 21 of 204


depiction of such conduct, to wit: Item Number 6119332, and that the defendant

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT SEVEN: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as



                                         7
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 8 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 22 of 204


defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

6119333, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT EIGHT: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title



                                         8
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 9 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 23 of 204


18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 6119333, and that the defendant

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT NINE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section



                                         9
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 10 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 24 of 204


2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

6119334, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT TEN: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 31st day of March 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did



                                        10
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 11 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 25 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 6119334, and that the defendant

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT ELEVEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         11
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 12 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 26 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

153065, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWELVE: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         12
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 13 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 27 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 153065, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTEEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         13
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 14 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 28 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842008, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FOURTEEN: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         14
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 15 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 29 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842008, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTEEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         15
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 16 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 30 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842009, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT SIXTEEN: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         16
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 17 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 31 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842009, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT SEVENTEEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 18 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 32 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842010, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT EIGHTEEN: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 19 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 33 of 204


knowingly permit S.F.P., to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842010, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT NINETEEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         19
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 20 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 34 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842011, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWENTY: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         20
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 21 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 35 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842011, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT TWENTY-ONE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 22 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 36 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842012, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWENTY-TWO: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         22
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 23 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 37 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842012, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT TWENTY-THREE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         23
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 24 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 38 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842013, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWENTY-FOUR: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         24
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 25 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 39 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842013, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT TWENTY-FIVE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 26 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 40 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842014, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWENTY-SIX: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         26
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 27 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 41 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842014, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT TWENTY-SEVEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 28 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 42 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842015, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT TWENTY-EIGHT: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         28
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 29 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 43 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842015, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT TWENTY-NINE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         29
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 30 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 44 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842016, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT THIRTY: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 31 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 45 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842016, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTY-ONE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         31
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 32 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 46 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842017, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT THIRTY-TWO: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         32
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 33 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 47 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842017, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTY-THREE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         33
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 34 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 48 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842019, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT THIRTY-FOUR: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         34
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 35 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 49 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842019, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTY-FIVE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 36 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 50 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842020, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT THIRTY-SIX: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         36
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 37 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 51 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842020, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTY-SEVEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 38 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 52 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842021, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT THIRTY-EIGHT: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         38
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 39 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 53 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842021, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT THIRTY-NINE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         39
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 40 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 54 of 204


sexually explicit conduct, as defined in Title 18 United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842024, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FORTY: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 41 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 55 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842024, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FORTY-ONE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         41
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 42 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 56 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842025, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FORTY-TWO: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         42
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 43 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 57 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842025, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FORTY-THREE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         43
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 44 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 58 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842028, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FORTY-FOUR: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         44
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 45 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 59 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842028, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FORTY-FIVE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 46 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 60 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842029, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FORTY-SIX: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         46
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 47 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 61 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842029, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FORTY-SEVEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         47
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 48 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 62 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842032, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FORTY-EIGHT: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         48
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 49 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 63 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842032, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FORTY-NINE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         49
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 50 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 64 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842033, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FIFTY: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 51 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 65 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842033, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTY-ONE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         51
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 52 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 66 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842034, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FIFTY-TWO: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         52
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 53 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 67 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842034, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTY-THREE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         53
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 54 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 68 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842037, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FIFTY-FOUR: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         54
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 55 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 69 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842037, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTY-FIVE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         55
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 56 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 70 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

3842038, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FIFTY-SIX: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 3rd day of July 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         56
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 57 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 71 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 3842038, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTY-SEVEN: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 31st day of May 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in


                                         57
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 58 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 72 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

6056905, and that the defendants knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT FIFTY-EIGHT: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 31st    day of May 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did


                                         58
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 59 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 73 of 204


knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 6056905, and that the defendants

knew and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT FIFTY-NINE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 26th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in



                                         59
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 60 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 74 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1061, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SIXTY: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 26th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,



                                       60
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 61 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 75 of 204


being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1061, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SIXTY-ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,



                                        61
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 62 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 76 of 204


did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1065, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SIXTY-TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,



                                        62
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 63 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 77 of 204


                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1065, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SIXTY-THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,



                                        63
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 64 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 78 of 204


                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1066, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SIXTY-FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the



                                        64
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 65 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 79 of 204


Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1066, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SIXTY-FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the



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   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 66 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 80 of 204


Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1067, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SIXTY-SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:



                                        66
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 67 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 81 of 204


      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1067, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SIXTY-SEVEN: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:



                                        67
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 68 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 82 of 204


      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1069, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SIXTY-EIGHT: (18 U.S.C. § 2251(b))



                                        68
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 69 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 83 of 204


      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1069, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SIXTY-NINE: (18 U.S.C. § 2251(a))



                                        69
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 70 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 84 of 204


      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1070, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).



                                        70
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 71 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 85 of 204


COUNT SEVENTY: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 28th day of July 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1070, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).



                                        71
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 72 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 86 of 204


COUNT SEVENTY-ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1072, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section



                                        72
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 73 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 87 of 204


2251(a).

COUNT SEVENTY-TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1072, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States



                                        73
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 74 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 88 of 204


Code, Section 2251(b).

COUNT SEVENTY-THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1073, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the



                                        74
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 75 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 89 of 204


internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SEVENTY-FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1073, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign



                                        75
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 76 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 90 of 204


commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SEVENTY-FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1074, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign



                                        76
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 77 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 91 of 204


commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SEVENTY-SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 3rd day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1074, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of



                                        77
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 78 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 92 of 204


interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SEVENTY-SEVEN: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1078, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been



                                        78
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 79 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 93 of 204


transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT SEVENTY-EIGHT: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1078, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction



                                        79
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 80 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 94 of 204


has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT SEVENTY-NINE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1079, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by



                                        80
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 81 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 95 of 204


computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT EIGHTY: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1079, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by



                                        81
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 82 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 96 of 204


any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT EIGHTY-ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1080, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and



                                        82
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 83 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 97 of 204


transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT EIGHTY-TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1080, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that



                                        83
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 84 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 98 of 204


have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT EIGHTY-THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1081, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and

affecting interstate and foreign commerce, and that said visual depiction was



                                        84
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 85 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 99 of 204


produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT EIGHTY-FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1081, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a camera, and in and affecting interstate and foreign commerce,



                                        85
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 86 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 100 of 204


and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT EIGHTY-FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1082, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a camera, and in and



                                        86
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 87 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 101 of 204


affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a camera, and that such visual depiction has actually been

transported and transmitted using any means and facility of interstate and foreign

commerce, and in and affecting interstate and foreign commerce, to wit: the

internet and a camera, in violation of Title 18, United States Code, Section

2251(a).

COUNT EIGHTY-SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 4th day of August 2010, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1082, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:



                                        87
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 88 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 102 of 204


the internet and a camera, and in and affecting interstate and foreign commerce,

and that said visual depiction was produced and transmitted using materials that

have been mailed, shipped, and transported in interstate and foreign commerce by

any means, including by computer, to wit: a camera, and that such visual depiction

has actually been transported and transmitted using any means and facility of

interstate and foreign commerce, and in and affecting interstate and foreign

commerce, to wit: the internet and a camera, in violation of Title 18, United States

Code, Section 2251(b).

COUNT EIGHTY-SEVEN: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 6th day of January 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1086, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of



                                        88
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 89 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 103 of 204


interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT EIGHTY-EIGHT: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 6th day of January 2011, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1086, and that the defendant knew

and had reason to know that such visual depiction would be transported and



                                        89
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 90 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 104 of 204


transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT EIGHTY-NINE: (18 U.S.C. § 2251(a) and (e) and 2)

      The Grand Jury charges that:

      On or about the 2nd day of June 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1089, and that the defendants knew and had reason to know that such visual


                                         90
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 91 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 105 of 204


depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: a cellular telephone, and in and affecting

interstate and foreign commerce, and that said visual depiction was produced and

transmitted using materials that have been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by computer, to wit: a

cellular telephone, and that such visual depiction has actually been transported and

transmitted using any means and facility of interstate and foreign commerce, and in

and affecting interstate and foreign commerce, to wit: a cellular telephone, in

violation of Title 18, United States Code, Section 2251(a) and (e) and 2.

COUNT NINETY: (18 U.S.C. § 2251(b) and (e) and 2)

      The Grand Jury charges that:

      On or about the 2nd day of June 2011, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,

each being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1089, and that the defendants knew

and had reason to know that such visual depiction would be transported and


                                         91
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 92 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 106 of 204


transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b) and (e) and 2.

COUNT NINETY-ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number



                                         92
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 93 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 107 of 204


1100, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT NINETY-TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title



                                        93
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 94 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 108 of 204


18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1100, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT NINETY-THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in



                                         94
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 95 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 109 of 204


sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1101, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT NINETY-FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,



                                        95
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 96 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 110 of 204


                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1101, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT NINETY-FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the



                                         96
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 97 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 111 of 204


Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1102, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT NINETY-SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:



                                        97
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 98 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 112 of 204


      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1102, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT NINETY-SEVEN: (18 U.S.C. § 2251(a))



                                         98
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 99 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 113 of 204


      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1103, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,



                                        99
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 100 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 114 of 204


Section 2251(a).

COUNT NINETY-EIGHT: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                        PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1103, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting



                                       100
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 101 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 115 of 204


interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT NINETY-NINE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1104, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually



                                        101
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 102 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 116 of 204


been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT ONE HUNDRED: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1104, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign



                                        102
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 103 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 117 of 204


commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT ONE HUNDRED AND ONE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1108, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was



                                        103
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 104 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 118 of 204


produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT ONE HUNDRED AND TWO: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1108, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:



                                        104
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 105 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 119 of 204


the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT ONE HUNDRED AND THREE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as

defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1109, and that the defendant knew and had reason to know that such visual



                                        105
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 106 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 120 of 204


depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT ONE HUNDRED AND FOUR: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title

18, United States Code, Section 2256(2)(A), for the purpose of producing a visual



                                        106
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 107 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 121 of 204


depiction of such conduct, to wit: Item Number 1109, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT ONE HUNDRED AND FIVE: (18 U.S.C. § 2251(a))

      The Grand Jury charges that:

      On or about the 23rd day of November 2010, in Lauderdale County, within

the Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

did employ, use, persuade, induce, entice, and coerce S.F.P., a minor, to engage in

sexually explicit conduct, as defined in Title 18, United States Code, Section

2256(2)(A), for the purpose of producing a visual depiction of such conduct, as



                                        107
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 108 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 122 of 204


defined in Title 18, United States Code, Section 2256(8)(A), to wit: Item Number

1122, and that the defendant knew and had reason to know that such visual

depiction would be transported and transmitted using a means and facility of

interstate and foreign commerce, to wit: the internet and a cellular telephone, and

in and affecting interstate and foreign commerce, and that said visual depiction was

produced and transmitted using materials that have been mailed, shipped, and

transported in interstate and foreign commerce by any means, including by

computer, to wit: a cellular telephone, and that such visual depiction has actually

been transported and transmitted using any means and facility of interstate and

foreign commerce, and in and affecting interstate and foreign commerce, to wit:

the internet and a cellular telephone, in violation of Title 18, United States Code,

Section 2251(a).

COUNT ONE HUNDRED AND SIX: (18 U.S.C. § 2251(b))

      The Grand Jury charges that:

      On or about the 23rd day of November 2010, in Lauderdale County, within

the Northern District of Alabama, the defendant,

                         PATRICIA ALLANA AYERS,

being a parent, legal guardian, or person having control of S.F.P., a minor, did

knowingly permit S.F.P. to engage in sexually explicit conduct, as defined in Title



                                        108
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 109 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 123 of 204


18, United States Code, Section 2256(2)(A), for the purpose of producing a visual

depiction of such conduct, to wit: Item Number 1122, and that the defendant knew

and had reason to know that such visual depiction would be transported and

transmitted using a means and facility of interstate and foreign commerce, to wit:

the internet and a cellular telephone, and in and affecting interstate and foreign

commerce, and that said visual depiction was produced and transmitted using

materials that have been mailed, shipped, and transported in interstate and foreign

commerce by any means, including by computer, to wit: a cellular telephone, and

that such visual depiction has actually been transported and transmitted using any

means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, to wit: the internet and a cellular telephone, in

violation of Title 18, United States Code, Section 2251(b).

COUNT ONE HUNDRED AND SEVEN: (18 U.S.C. § 2252A(a)(5)(B) and
(b)(2))

      The Grand Jury charges that:

      On or before the 3rd day of January 2013, a further and better description of

said date being unknown to the Grand Jury, in Lauderdale County, within the

Northern District of Alabama, the defendants,

                       PATRICIA ALLANA AYERS and
                         MATTHEW DAVID AYERS,



                                        109
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 110 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 124 of 204




did knowingly possess and access with intent to view material that contains an

image of child pornography, as defined in Title 18, United States Code, Section

2256(8)(A), that involved a prepubescent minor and a minor who had not attained

12 years of age, that has been mailed, and shipped and transported using a means

and facility of interstate and foreign commerce, to wit: the internet, a camera and a

cellular telephone, and that was produced using materials that have been mailed,

and shipped and transported in and affecting interstate and foreign commerce by

any means, including by computer, to wit: a camera and a cellular telephone, in

violation of Title 18, United States Code, Section 2252A(a)(5)(B) and (b)(2).

                            NOTICE OF FORFEITURE
                              [18 U.S.C. § 2253(a)]

      As a result of the foregoing offenses alleged in COUNTS ONE THROUGH

ONE HUNDRED AND SEVEN of this Indictment, the defendants,

                        PATRICIA ALLANA AYERS and
                          MATTHEW DAVID AYERS,

shall forfeit to the United States:

      (a) any visual depiction described in Title 18, United States Code, Sections

2251, 2252, 2252A, or any book, magazine, periodical, film, videotape, computer

disk, thumb drive, flash drive, or other matter which contains any such visual



                                        110
   Case 5:14-cr-00117-LSC-SGC Document 1 Filed 04/30/14 Page 111 of 111
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 125 of 204


depiction, which was produced, transported, mailed, shipped, and received in

violation of Chapter 110 of the United States Code, and any property, real or

personal, used and intended to be used to commit and to promote the commission

of such offenses, including but not limited to:

      1) one (1) Samsung cellular telephone;

      2) one (1) Cannon camera; and

      3) one (1) Acer laptop computer.

A TRUE BILL

/s/ electronic signature

FOREPERSON OF THE GRAND JURY



                                               JOYCE WHITE VANCE
                                               United States Attorney


                                               /s/ electronic signature
                                               MARY STUART BURRELL
                                               Assistant United States Attorney




                                         111
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 126 of 204




                                  19
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 1 of 20         FILED
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 127 of 2014
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA



                IN THE UNITED STATES DISTRICT COURT

             FOR THE NORTHERN DISTRICT OF ALABAMf:                          I lED
                          NORTHEASTERN DIVISION
                                                                            JUN 26 201~
                                                                   UNITED STATES DISTRICT COURT
UNITED STATES OF AMERICA )                                         NORTHERN DISTRICT OF ALABAMA
                                      )
                v.                    )      5:14-cr-117-LSC-SGC
                                      )
MATTHEW DAVID AYERS                   )


                              PLEA AGREEMENT

      The Government and defendant hereby acknowledge the following plea

agreement in this case:

                                      PLEA

      The defendant agrees to (i) plead guilty to Counts 11, 13, 15, 17, 19, 21,23,

25,27,29,31,33,35,37,39,41,43,45,47,49,51,53,55,57 and 89 of the

Indictment filed in the above numbered and captioned matter; (ii) pay restitution as

recommended by the Government and (iii) consent to an order of forfeiture. In

exchange, the United States Attorney, acting on behalf of the Government and

through the undersigned Assistant United States Attorney, agrees to dismiss the

remaining counts as to this defendant only and recommend the disposition

specified below, subject to the conditions in paragraphs VII and VIII.


                                                            Defendant's Initials   ~
                                    Page 1 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 2 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 128 of 204




                          TERMS OF THE AGREEMENT

I. MAXIMUM PUNISHMENT

       The defendant understands that the maximum statutory punishment that may

be imposed for the crime of Production of Child Pornography, in violation of Title

18, United States Code, Section 2251 (a), as charged in Counts 11, 13, 15, 17, 19,

21,23,25,27,29,31,33,35,37,39,41,43,45,47,49,51, 53, 55, 57 and 89, is:

              a.      Imprisonment for not less than 15 years and up to 30 years for

                      each count;

              b.      A fine of not more than $250,000, or,

              c.      Both (a and b);

              d.      Supervised release of no less than 5 years and up to life; and

              e.      Special Assessment Fee of$100 per count.



II. FACTUAL BASIS FOR PLEA

       The Government is prepared to prove, at a minimum, the following facts at

the trial of this case:

       The Government is prepared to prove, at a minimum, the following facts at

the trial of this case:

                                                               Defendant's Initials   ~
                                        Page 2 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 3 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 129 of 204




      12/0112012 Sean Patrick Fannon and Carinn Seabolt arranged a meeting
                 with Patricia and Matthew Ayers after Fannon spoke with
                 Patricia Ayers on www.okcupid.com. All four visited in the
                 Ayers's residence where Fannon and Seabolt were introduced
                 to the children living in the home, to include the victim. The
                 children were put to bed and the four adults went to the Ayers's
                 bedroom and engaged in intimate activity.

      12/08/2012 The Ayers family visited Fannon and Seabolt at their residence
                  in Toney, Alabama. Fannon described the visit as a meet and
                  greet. Patricia Ayers attempted to provide Fannon with some
                  intimate pictures of herself and Matthew Ayers with a thumb
                  drive, but the thumb drive did not function. Ayers promised to
                  bring her computer the next time the couples got together.

      1211412012 The Ayers's family was invited to spend the weekend with
                 Fannon and Seabolt at their residence. During the visit, Fannon
                 provided digital files of pictures of he and Seabolt to Patricia
                 Ayers, who in tum provided digital images to Fannon of what
                 she said were images of her and Matthew Ayers. Fannon
                 believed that they were exchanging images of adults engaged in
                 intimate behavior. The exchange of files occurred over
                 Fannon's wireless system.

      12/22/2012 Fannon was in Chatanooga, Tennessee, when he first opened
                 the files provided to him by Patricia Ayers. While viewing the
                 pictures he saw pornographic images of the victim and
                 immediately closed the files and contacted Seabolt to explain
                 what he had seen. During the conversation both agreed that
                 Fannon should immediately contact law enforcement in order to
                 ensure the safety of the children living in the Ayers residence.
                 Fannon attempted contact with the Lauderdale County Sheriff's
                 Department and the Lauderdale County Department of Human
                 Resources, but was referred to the Madison County Sheriff's
                 Department.



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                                  Page 3 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 4 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 130 of 204



     12/24/2012 Upon his return from Tennessee, Fannon met with Madison
                 County Deputy Koch and advised the deputy of the above.
                 Fannon turned over his computer and signed a consent to search
                 form for his computer. Deputy Koch confirmed the child
                 pornography and contacted Sergeant Shaw, also of the Madison
                 County Sheriff s Office.

     12/28/2012 Sgt. Shaw and ABI Forensic Agent Joey Hughes reviewed
                 Fannon's computer and retrieved five images of child
                 pornography.

     0110212013 Sgt. Shaw made contact with Inv. Richard Richey of the
                 Lauderdale County Sheriff s Office to explain the situation.

     01/03/2013 Inv. Richey served a search warrant at the Ayers's residence,
                 located at 1801 County Road 298 in Florence, Alabama.
                 Computers, cell phones, cameras and electronic storage media
                 devices were seized. Both Ayers were present. Patricia Ayers
                 was transported back to the Sheriffs Department where, after
                 waiving Miranda, admitted to taking the images of the victim.
                 She claimed that the images were taken for the purpose of
                 documenting a rash. Patricia Ayers was subsequently arrested.

     01/08/2013 The assistance of the FBI was requested by local authorities.

     01/10/2013 ABI Forensic Agent Ken Rager, during a review of the
                 computer items, located images depicting the victim and
                 Matthew Ayers engaged in sexual acts. Matthew Ayers was
                 subsequently arrested.

     0111112013 Another local search warrant was served at the Ayers residence
                 to locate and document items seen in identified images of child
                 pornography suspected of being produced in the Ayers
                 residence.

      01112/2013 An address previously occupied by the Ayers at 21856 County
                 Road 8 in Florence, Alabama, was located and the present
                 owners consented to law enforcement documentation of
                                                         Defendant's Initials   JjfIr-
                                  Page 4 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 5 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 131 of 204



                 wallpaper in the residence. This wallpaper was seen in some of
                 the identified images of child pornography.

     02/0712013 All electronic/computer evidence seized during the search
                 warrants was turned over to the FBI for review.

     02/27/2013 A federal defendant named Charles Smolens was interviewed
                regarding a separate and seemingly unrelated child pornography
                case in Dallas, Texas, by SA Chris Thompson of the FBI.
                Smolens admitted to receiving and possessing images of child
                pornography and claimed that those images were sent to him by
                Patricia Ayers over his Yahoo e-mail account. SA Thompson
                linked to the open Birmingham case targeting Patricia Ayers
                and contacted SA Pat Stokes, who was investigating the Ayers
                in Alabama. It was discovered that the cases were connected.
                During an interview, Smolens described an ongoing online
                relationship with Patricia Ayers beginning in 2009 and ending
                in 2011. During that period, Ayers sent numerous pornographic
                images of the child victim to him via e-mail. The images
                contained depictions of the victim in lewd and lascivious poses,
                and of the victim and both Patricia and Matthew Ayers engaged
                in sexual acts together. Smolens denied ever meeting the child
                victim. Smolens did advise that Ayers flew to Texas and that
                he and Ayers had sex. A review of the email exchanges
                between Smolens and Ayers revealed that Ayers intended to
                take the child victim with her on her next trip to Texas so that
                Smolens could have sexual contact with the child.

     08/05/2013 Auburn Shukla, a court appointed special advocate for the
                family court, interviewed Patricia Ayers regarding the victim.
                During the interviews, Patricia Ayers advised that all pictures
                of the victim and sexual activity with the victim were done at
                the request of a man in Texas. Ayers told Shukla that she had
                specific rules regarding sexual activity between her, Matthew
                and the victim. The rules were no penetration and that
                everything was with the consent of the victim. (The images are
                not consistent with these "rules.")

                                                        Defendant's Initials   I/IK
                                 Page 5 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 6 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 132 of 204



      08112/2013 Alyssa Farris, Gateway Family Specialist, spoke with the
                  victim who advised that Matthew had touched her privates and
                  that her mother was present when it occurred. The victim also
                  told Farris that she had asked Matthew to stop, but he did not
                  stop and her mother, who was present, did not make Matthew
                  stop.

      08/22/2013 Received a certified certificate of birth for the victim showing a
                 date of birth of 10/29/2004.


      04/0712013 It was determined that all of the images were made with either
                  Patricia Ayers's cellular telephone or with a camera found at
                  the home. Neither the phone nor the camera were manufactured
                  in the United States. All of the images were produced in the
                  Northern District of Alabama in Lauderdale County.

      The defendant hereby stipulates that the facts stated above are

substantially correct and that the Court can use these facts in calculating the

defendant's sentence.    The defendant further acknowledges that these facts

do not constitute all of the evidence of each and every act that the defendant




                                 rt
and/or any co-conspirators may have committed.


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                                                    AYERS



III. RECOMMENDED SENTENCE

      Subject to the limitations in paragraph VIII regarding subsequent conduct

and pursuant to Rule 11(c)(1)(B), Fed.R.Crim.P., the government will recommend

                                                           Defendant's Initials   ¢:
                                   Page 6 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 7 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 133 of 204



the following disposition:

         (a) The government will recommend a two (f) level reduction in the

         defendant's adjusted offense level, based upon the defendant's apparent

         prompt recognition and affirmative acceptance of personal responsibility

         for the defendant's criminal conduct. The government agrees to make a

         motion pursuant to U.S.S.G. § 3El.l(b) for an additional one (1) level

         decrease in recognition of the defendant's prompt acceptance of personal

         responsibility for the defendant's conduct. The government may oppose

         any adjustment for acceptance of responsibility if the defendant (i) fails

         to admit each and every item in the factual stipulation; (ii) denies

         involvement in the offense; (iii) gives conflicting statements about the

         defendant's involvement in the offense; (iv) is untruthful with the Court,

         the government, or the United States Probation Officer; (v) obstructs or

         attempts to obstruct justice prior to sentencing; (vi) engages in any

         criminal conduct between the date of this agreement and the date of

         sentencing; or (vii) attempts to withdraw the plea of guilty for any reason

         other than those expressly enumerated in the Limited Waiver of Right to

         Appeal and Post-Conviction Relief section ofthis plea agreement;

         (b) The government will recommend that the defendant be remanded to

                                                           Defendant's Initials   i{1:Ik
                                   Page 7 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 8 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 134 of 204



        the custody of the Bureau of Prisons and incarcerated for a term within

        the advisory United States Sentencing Guideline range as that is

        determined by the Court on the date that the sentence is pronounced, and

        after both parties have had full right of allocution.

        (c) The government will recommend, that following the recommended

        term of imprisonment, the defendant be placed on supervised release for

        a period up to Life, subject to the standard conditions of supervised

        release as set forth in U.S.S.G § 5D1.3, and to the following special

        condition(s):

             1.   That the defendant be required to register as a sex offender for

                  the full term of the defendant's supervised release, or for the

                  full term provided for under the law of the jurisdiction the

                  defendant chooses as the defendant's domicile, whichever is

                  longer.

            ll.   That the defendant not have contact with any child under the

                  age of 18, without the presence of an adult and approved in

                  advance by the Probation Officer; this includes prohibiting the

                  defendant from having any contact with any child by telephone

                  or the internet. The defendant shall immediately report any

                                                                Defendant's Initials   #:­
                                    Page 8 of 20
    Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 9 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 135 of 204



                  unauthorized contact with minor-aged children to the Probation

                  Officer;

           111.   That the defendant complete a sex offender evaluation, which

                  may include periodic psychological, physiological, polygraph,

                  and plethysmography testing at the direction of the Probation

                  Officer;

            IV.   That the defendant participate and successfully complete an

                  approved state-certified sex offender treatment program,

                  including compliance with all lifestyle restrictions and

                  treatment requirements of the program. The defendant shall

                  allow reciprocal release of information between the Probation

                  Officer and the treatment provider.       The defendant shall

                  contribute to the cost of treatment according to the defendant's

                  ability to pay.

            v.    That the defendant shall initially register with the state sex

                  offender registration agency in Alabama according to Alabama

                  state law, and shall also register with the state sex offender

                  registration agency according to the law of any state in which

                  the defendant resides, is employed, or is attending school. The

                                                          Defendant's Initials   ~
                                    Page 9 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 10 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 136 of 204



                  defendant shall comply with all requirements of federal and

                  state sex offender registration laws, including the requirement

                  to update his registration information. Defendant shall provide

                  proof of registration to the Probation Officer within 72 hours of

                  release from imprisonment; and

            VI.   That the defendant be prohibited from using any computer, or

                  any other device, with internet access, unless approved in

                  advance by the Probation Officer, or required for employment.

                  If approved by the Probation Officer, or required for

                  employment, the defendant must allow the Probation Officer or

                  designee to conduct random inspections, including retrieval and

                  copying of data from any computer, and any personal

                  computing device that the defendant possesses or has access to,

                  including any internal or external peripherals. This may require

                  temporary removal of the equipment for a more thorough

                  inspection. The defendant shall not possess or use any data

                  encryption technique or program. According to the defendant's

                  ability to pay, the defendant shall purchase and use such

                  hardware and software systems that monitor the defendant's

                                                          Defendant's Initia1s   tl/r-
                                  Page 10 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 11 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 137 of 204



                    computer usage, if directed by the Probation Officer.

         (d) The government will recommend that the defendant be required to

         pay a fine in accordance with the sentencing guidelines, said amount due

         and owing as of the date sentence is pronounced, with any outstanding

         balance to be paid in full by the expiration of the term of supervised

         release;

         (e) The government will recommend that the defendant pay a special

         assessment fee of $2500, said amount due and owing as of the date

         sentence is pronounced; and,

         (t) Should the government learn that the defendant has sexually abused

         or assaulted any minor (other than the minor victim in this case), or

         committed any other crime of violence or if any new victim should come

         forward prior to the defendant's sentencing, this agreement will be

         considered null and void.



IV.   WAIVER OF RIGHT TO APPEAL AND POST-CONVICTION

      RELIEF


      In consideration of the recommended disposition of this case, I,

MATTHEW DAVID AYERS, hereby waive and give up my right to appeal
                                                            Defendant's Initials ~

                                     Page 11 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 12 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 138 of 204



my conviction and/or sentence in this case, as well as any fines, restitution,

and forfeiture orders, the court might impose. Further, I waive and give up

the right to challenge my conviction and/or sentence, any fines, restitution,

forfeiture orders imposed or the manner in which my conviction and/or

sentence, any fines, restitution, and forfeiture orders were determined in any

post-conviction proceeding, including, but not limited to, a motion brought

under 28 U.S.C. § 2255.

      The defendant reserves the right to contest in an appeal or post­

conviction proceeding the following:

            (a)   Any sentence imposed in excess of the applicable statutory

                   maximum sentence(s);

            (b)   Any sentence imposed in excess of the guideline sentencing

                   range determined by the court at the time sentence is

                  imposed; and

            (c)   Ineffective assistance of counsel.

      The defendant acknowledges that before giving up these rights, the

defendant discussed the Federal Sentencing Guidelines and their application

to the defendant's case with the defendant's attorney, who explained them to

the defendant's satisfaction. The defendant further acknowledges and

                                                          Defendant's Initials ~

                                   Page 12 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 13 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 139 of 204



understands that the government retains its right to appeal where authorized

by statute.

      I, MATTHEW DAVID AYERS, hereby place my signature on the line

directly below to signify that I fully understand the foregoing paragraphs, and

that I am knowingly and voluntarily entering into this waiver.



                             ~~Ir~,
                              MATTHEW DAVi1t:ttvERS


V. UNITED STATES SENTENCING GUIDELINES

      Defendant's counsel has explained to the defendant, that in light of the

United States Supreme Court's decision in United States v. Booker, the federal

sentencing guidelines are advisory in nature. Sentencing is in the court's

discretion and is no longer required to be within the guideline range. The

defendant agrees that, pursuant to this agreement, the court may use facts it finds

by a preponderance of the evidence to reach an advisory guideline range, and

defendant explicitly waives any right to have those facts found by a jury beyond a

reasonable doubt.




                                                             Defendant's Initials   ~
                                    Page 13 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 14 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 140 of 204



VI. AGREEMENT NOT BINDING ON COURT

      The defendant fully and completely understands and agrees that it is the

Court's duty to impose sentence upon the defendant and that any sentence

recommended by the government is NOT BINDING UPON THE COURT, and

that the Court is not required to accept the government's recommendation. Further,

the defendant understands that ifthe Court does not accept the government's

recommendation, the defendant does not have the right to withdraw the guilty plea.



VII. VOIDING OF AGREEMENT

      The defendant understands that should the defendant move the Court to

accept the defendant's plea of guilty in accordance with, or pursuant to, the

provisions of North Carolina v. Alford, 400 U.S. 25 (1970), or tender a plea of

nolo contendere to the charges, this agreement will become NULL and VOID. In

that event, the Government will not be bound by any of the terms, conditions, or

recommendations, express or implied, which are contained herein.



VIII. SUBSEQUENT CONDUCT

      The defendant understands that should the defendant violate any

condition of pretrial release or violate any federal, state, or local law , or


                                                            Defendant's Initials   ~
                                    Page 14 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 15 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 141 of 204



should the defendant say or do something that is inconsistent with acceptance

of responsibility, the United States will no longer be bound by its obligation to

make the recommendations set forth in paragraph III of the Agreement, but

instead, may make any recommendation deemed appropriate by the United

States Attorney in her sole discretion.



IX. OTHER DISTRICTS AND JURISDICTIONS

      The defendant understands and agrees that this agreement DOES NOT

BIND any other United States Attorney in any other district, or any other state or

local authority.



X. COLLECTION OF FINANCIAL OBLIGATION

      In order to facilitate the collection of financial obligations to be imposed in

connection with this prosecution, the defendant agrees to fully disclose all assets in

which the defendant has any interest or over which the defendant exercises control,

directly or indirectly, including those held by a spouse, nominee or other third

party. The defendant also will promptly submit a completed financial statement to

the United States Attorney's Office, in a form that it provides and as it directs. The

defendant also agrees that the defendant's financial statement and disclosures will

                                                             Defendant's Initials ~

                                    Page 15 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 16 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 142 of 204



be complete, accurate, and truthful. Finally, the defendant expressly authorizes the

United States Attorney's Office to obtain a credit report on the defendant in order

to evaluate the defendant's ability to satisfy any financial obligation imposed by

the Court.



XI.   AGREEMENT REGARDING RELEVANT CONDUCT AND
      RESTITUTION

      As part of the defendant's plea agreement, the defendant admits to the above

facts associated with the charges and relevant conduct for any other acts. The

defendant understands and agrees that the relevant conduct contained in the factual

basis will be used by the Court to determine the defendant's range of punishment

under the advisory sentencing guidelines. The defendant admits that all of the

crimes listed in the factual basis are part of the same acts, scheme, and course of

conduct. This agreement is not meant, however, to prohibit the United States

Probation Office or the Court from considering any other acts and factors which

may constitute or relate to relevant conduct. Additionally, if this agreement

contains any provisions providing for the dismissal of any counts, the defendant

agrees to pay any appropriate restitution to each of the separate and proximate

victims related to those counts should there be any.



                                                             Defendant's   Initials~·
                                    Page 16 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 17 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 143 of 204



XII. TAX, FORFEITURE AND OTHER CIVIL/ADMINISTRATIVE
     PROCEEDINGS

      Unless otherwise specified herein, the defendant understands and

acknowledges that this agreement does not apply to or in any way limit any

pending or prospective proceedings related to defendant's tax liabilities, if any, or

to any pending or prospective forfeiture or other civil or administrative

proceedings.

      Defendant recognizes that pleading guilty may have consequences with

respect to his immigration status ifhe is not a citizen of the United States. Under

federal law, a broad range of crimes are removable offenses, including the

offense(s) to which defendant is pleading guilty. Removal and other immigration

consequences are the subject of a separate proceeding, however, and defendant

understands that no one, including his attorney or the district court, can predict to a

certainty the effect of his conviction on his immigration status. Defendant

nevertheless affirms that he wants to plead guilty regardless of any immigration

consequences that his plea may entail, even if the consequence is his automatic

removal from the United States.



XIII. DEFENDANT'S UNDERSTANDING

      I have read and understand the provisions of this agreement consisting of
                                                              Defendant's InitialS~

                                     Page 17 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 18 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 144 of 204



twenty (20) pages. I have discussed the case and my constitutional and other rights

with my lawyer. I am satisfied with my lawyer's representation in this case. I

understand that by pleading guilty, I will be waiving and giving up my right to

continue to plead not guilty, to a trial by jury, to the assistance of counsel at that

trial, to confront, cross-examine, or compel the attendance of witnesses, to present

evidence in my behalf, to maintain my privilege against self-incrimination, and to

the presumption of innocence. I agree to enter my plea as indicated above on the

terms and conditions set forth herein.

      NO OTHER PROMISES OR REPRESENTATIONS HAVE BEEN

      MADE TO ME BY THE PROSECUTOR, OR BY ANYONE ELSE,

      NOR HAVE ANY THREATS BEEN MADE OR FORCE USED TO

      INDUCE ME TO PLEAD GUILTY.

      I further state that I have not had any drugs, medication, or alcohol within

the past 48 hours except as stated here:   \\CTL (~~.rp'l.\~ L~~ ,''''oP;\\
      I understand that this Plea Agreement will take effect and will be binding as

to the Parties only after all necessary signatures have been affixed hereto.

      I have personally and voluntarily placed my initials on every page of this

Agreement and have signed the signature line below to indicate that I have read,

understand, and approve all ofthe provisions of this Agreement, both individually


                                                               Defendant's   Initial~
                                      Page 18 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 19 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 145 of 204



and as a total binding agreement.


       fLL?1l~                      -~~HE""~1ti~RS
                                       Defendant


XIV. COUNSEL'S ACKNOWLEDGMENT

      I have discussed this case with my client in detail and have advised my

client of all of my client's rights and all possible defenses. My client has conveyed

to me that my client understands this Agreement and consents to all its terms. I

believe the plea and disposition set forth herein are appropriate under the

facts of this case and are in accord with my best judgment. I concur in the entry of

the plea on the terms and conditions set forth her . .



      6d't-l~
          DATE                                    BROWER, ESQ.
                                       Defendant's Counsel




                                                             Defendant's   lnitialS~
                                    Page 19 of 20
   Case 5:14-cr-00117-LSC-SGC Document 19 Filed 06/26/14 Page 20 of 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 146 of 204



xv. GOVERNMENT'S ACKNOWLEDGMENT
      I have reviewed this matter and this Agreement and concur that the plea and

disposition set forth herein are appropriate and are in the interests ofjustice.


                                        JOYCE WHITE VANCE
                                        United States Attorney


   G., Zto-20 (J.f                     iYt  ~~~
        DATE                            MA~ART            BURRELL
                                        Assistant United States Attorney




                                                              Defendant's Initials   ,(1, '$--..,   ­

                                     Page 20 of 20
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 147 of 204




                                  25
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 148 of 204




             Sealed Document
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 149 of 204




                                  27
USCA11 Case: 14-15040           Document: 13        Date Filed: 05/08/2015        Page: 150 of 204


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA


UNITED STATES OF AMERICA                      )
                                              )
                  vs.                         )       Case No: 5:14-CR-117-LSC-SGC
                                              )
                                              )
MATTHEW DAVID AYERS                           )

                        DEFENDANT’S SENTENCING MEMORANDUM

       Comes now, the Defendant, Matthew David Ayers, by and through counsel and submits

this Sentencing Memorandum, with Sentence Recommendations, pursuant to 18 U.S.C §

3553(a)(2). Mr. Ayers submits that a 360 month sentence in Count 11 and a consecutive 180

month sentence in all remaining counts (for a total of 45 years) is “sufficient, but, not greater

than necessary” to meet all sentencing mandates under the United Sates Code.

       Mr. Ayers’ Presentence Investigation Report correctly calculates his Offense Level as a

43, when combined with a criminal history category of I, produces a guideline offense level of

life. However, the statutory maximum sentence allowed under the code is 30 years. The PSR

cites U.S.S.G. § 5G1.2(b) and (d) which state, “if the sentence imposed on the count carrying the

highest statutory maximum is less than the total punishment, then the sentence imposed in one or

more of the other counts shall run consecutively, but only to the extent necessary to produce a

combined sentence equal to the total punishment.” The sentence recommended by Probation in

the PSR is far grater than the natural life of Mr. Ayers or any other person.

       No version of the facts of this case, are supportive of leniency for Mr. Ayers. He has

accepted responsibility for what he did to his stepdaughter. Further, he has repeatedly expressed

not only remorse, but, disgust with his behavior. Mr. Ayers has stated to counsel numerous times

that he can no longer relate to or comprehend what lead him to commit his crimes. Mr. Ayers
USCA11 Case: 14-15040            Document: 13        Date Filed: 05/08/2015        Page: 151 of 204


was lead into his crimes by his wife and co-defendant, Patricia Ayers. He does not blame her and

is in no way pointing a finger at her to say it is all her fault. That would be inconstant with his

acceptance of responsibility for his crimes and acknowledgment of his crimes. If Mr. Ayers is

clear in one area, it is that he is responsible for his behavior and he is ready to except the

consequences of his actions.

       When fashioning a sentence for a defendant, the Court’s “overarching” duty is to “impose

a sentence sufficient, but not greater than necessary, to accomplish the goals of sentencing.”

Kimbrough v. United States, 552 U.S. 85, 101 (2007). Courts are now allowed to disagree with

the Guidelines, because, “the guidelines are now advisory.” Kimbrough, 552 U.S. at 101-

02.Courts are now allowed to disagree with the Guidelines based solely on policy considerations.

Kimbrough, (citing Rita v. United States, 551 U.S. 338, 351 (2007)(stating that Courts may find

the “guidelines sentence itself fails properly to reflect § 3553(a) considerations).

       The United States Attorney’s office in its Sentencing Memorandum cites several cases

supporting the conclusion that a 750 year sentence for the Defendant would be consistent with

other defendants sentenced in the Northern District of Alabama. However, those cases are not an

exhaustive review of all similar cases in the Northern District. In United States v. Dean, the

Eleventh Circuit confirmed the reasonableness of a 30 year statutory maximum sentence wherein

the defendant was convicted of sexually abusing his stepdaughter for more than fifteen years and

filming the abuse to produce child pornography. 635 F.3d 1200, 1212 (11th Cir. 2011). See United

States v. Irey, 612 F.3d 1160, 1166 (11th Cir. 2010)(where the court vacated a 210 month sentence

and remanded with instructions to impose a sentence of 360 months on a defendant who raped,

sodomized and sexually tortured more than fifty girls, some as young as four years of age over a

four to five year period). See also United States v. Kapordelis, 569 F.3d 1291, 1319 (11th Cir.
USCA11 Case: 14-15040           Document: 13       Date Filed: 05/08/2015        Page: 152 of 204


2009)(wherein the Eleventh Circuit affirmed a month sentence for possessing, receiving, and

producing child pornography). The fact of these cases are arguably far worse than that of Mr.

Ayers and the sentences imposed in these cases, despite being completely sufficient to ensure that

the defendants were never released into society again while not being greater than reasonably

necessary to accomplish that goal. A sentence of 750 years for Mr. Ayers is arbitrary and is

nothing more than an emotional response to his crimes. Further a 750 year sentence would, aside

from garnering headlines, do nothing more than in terms of just punishment than a 45 years.

                                         CONCLUSION

Mr. Ayers is 43 year old in poor health. His numerous medical issues are more fully set out in his

PSR. A thirty year sentence in Count 11, followed by a consecutive sentence of fifteen years for

count 13, with all other counts receiving a fifteen year sentence to run concurrently with count 13,

would effectively sentence Mr. Ayers to a life sentence and is “sufficient, but, not greater than

necessary,” to serve sentencing purposes under 18 U.S.C. 3553(a).

                              Respectfully submitted, this 21th day of October, 2014.



                                                             /s/ W. Scott Brower
                                                             W. Scott Brower
                                                             Asb-1249-w79w

OF COUNSEL:
Brower Law Office
P.O. Box 130249
Birmingham, Alabama 35213
(205) 458-9889

CERTIFICATE OF SERVICE

       This is to certify that I have electronically filed the foregoing Motion with the Clerk of the
Court using the CM/ECF system and have sent notification to the correct parties.
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015    Page: 153 of 204


                                               /s/ W. Scott Brower
                                               OF COUNSEL
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 154 of 204




                                  32
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 155 of 204




             Sealed Document
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 156 of 204




                                  34
            Case 5:14-cr-00117-LSC-SGC Document 34 Filed 10/23/14 Page 1 of 5          FILED
        USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 157 of 2014
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case                                     U.S. DISTRICT COURT
                                                                                                                  N.D. OF ALABAMA


                                UNITED STATES DISTRICT COURT
                                    Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                           Case Number 5:14-CR-117-LSC-SGC (002)

MATTHEW DAVID AYERS
    Defendant.


                                        JUDGMENT IN A CRIMINAL CASE
                              (For Offenses Committed On or After November 1, 1987)

         The defendant, MATTHEW DAVID AYERS, was represented by W. Scott Brower.

         On motion of the United States, the court has dismissed EVEN numbered counts 12 - 58, 90, and count
107.

      The defendant pleaded guilty to ODD numbered counts 11 - 57, and 89. Accordingly, the defendant is
adjudged guilty of the following counts, involving the indicated offenses:

Title & Section                              Nature of Offense                              ODD Count Numbers

18 U.S.C. § 2251(a)                Production of Child Pornography                          11 - 57, and 89

     As pronounced on October 22, 2014, the defendant is sentenced as provided in pages 2 through 5 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

      It is ordered that the defendant shall pay to the United States a special assessment of $2,500.00, for ODD
numbered counts 11 - 57, and 89, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

         Done this 23rd day of October, 2014.




                                                                  L. Scott Coogler
                                                            United States District Judge
                                                                                        123966
            Case 5:14-cr-00117-LSC-SGC Document 34 Filed 10/23/14 Page 2 of 5
        USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 158 of 204
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Imprisonment


                                                                                              Judgment--Page 2 of 5
Defendant: MATTHEW DAVID AYERS
Case Number: 5:14-CR-117-LSC-SGC (002)

                                                       IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a TOTAL TERM of 9,000 months. This sentence is comprised of 360 months as to each of the ODD
numbered counts 11 - 57, and 89, separately, with each count to be served consecutively with the other.




        The defendant is remanded to the custody of the United States Marshal.




                                                             RETURN

        I have executed this Judgment as follows:




        Defendant delivered on                       to                                  at
                    , with a certified copy of this Judgment.



                                                                 United States Marshal

                                            By
                                                                      Deputy Marshal
             Case 5:14-cr-00117-LSC-SGC Document 34 Filed 10/23/14 Page 3 of 5
         USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 159 of 204
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release
                                                                                         Judgment--Page 3 of 5
Defendant: MATTHEW DAVID AYERS
Case Number: 5:14-CR-117-LSC-SGC (002)
                                           SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE. The
Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

                                           STANDARD CONDITIONS OF SUPERVISED RELEASE

While the defendant is on supervised release pursuant to this Judgment:
1)   The defendant shall not commit another federal, state or local crime; specifically, the defendant shall not illegally possess a controlled
     substance and shall not own or possess a firearm or destructive device.
2)   The defendant shall not leave the judicial district without permission of the Court or probation officer.
3)   The defendant shall report to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete
     written report within the first five (5) days of each month.
4)   The defendant shall answer truthfully all inquiries by the probation officer, shall provide the probation officer access to requested financial
     information, and shall follow the instructions of the probation officer.
5)   The defendant shall support his or her dependents and meet other family responsibilities.
6)   The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
     acceptable reasons.
7)   The defendant shall notify the probation officer ten (10) days prior to any change in residence or employment. (On change of residence
     to a new jurisdiction of a person convicted either of a crime of violence or of a drug trafficking offense, the Probation Office is responsible
     for complying with the notice provisions of 18 U.S.C. § 4042(b).)
8)   The defendant shall refrain from excessive use of alcohol, except that a defendant while in the Drug and Alcohol Intensive Counseling
     and Aftercare Service Program (DAICASP) (or comparable program in another district) shall consume no alcohol. The defendant shall
     not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
     substances.
9)   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
10) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
     a felony unless granted permission to do so by the probation officer.
11) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
     contraband observed in plain view by the probation officer.
12) The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
13) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the Court.
14) The defendant shall comply with any directions from the probation officer to serve notice of third party risks the defendant may pose,
     and shall cooperate with the officer's efforts to confirm compliance.
15) The defendant shall comply with the probation office's Policies and Procedures Concerning Court Ordered Financial Obligations to satisfy
     the balance of any monetary obligation resulting from the sentence imposed in the case. Further, the defendant shall notify the probation
     office of any change in the defendant's economic circumstances that might affect the defendant's ability to pay a fine, restitution, or
     assessment fee. If the defendant becomes more than 60 days delinquent in payments of financial obligations, the defendant may be
     (a) required to attend a financial education or employment preparation program under the administrative supervision the probation
     officer, (b) placed on home confinement subject to electronic monitoring for a maximum period of 90 days under the administrative
     supervision of the probation officer (with the defendant to pay the cost of monitoring unless the probation officer determines that the
     defendant does not have the ability to do so), and/or (c) placed in a community corrections center for up to 180 days under the
     administrative supervision of the probation officer (with the defendant to pay the cost of subsistence unless the probation officer
     determines that the defendant does not have the ability to do so).
16) Unless excused by a special condition of probation or supervised release in the Judgment or by a subsequent court order, the defendant
     shall comply with 18 U.S.C. § 3563 (a) (probation) or § 3583 (d) (supervised release) regarding mandatory drug testing (with the
     defendant to contribute to the cost of drug testing unless the probation officer determines that the defendant does not have the ability
     to do so). A positive urinalysis may result in the defendant's placement in the probation office's Drug and Alcohol Intensive Counseling
     and Aftercare Service Program (DAICASP) (or comparable program in another district) under the administrative supervision of the
     probation officer.
             Case 5:14-cr-00117-LSC-SGC Document 34 Filed 10/23/14 Page 4 of 5
         USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 160 of 204
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release
                                                                                                                   Judgment--Page 4 of 5
Defendant: MATTHEW DAVID AYERS
Case Number: 5:14-CR-117-LSC-SGC (002)

                               CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE

(17) Upon imposition of the special condition by the Court or upon a court order entered during the period of probation or supervision for good
     cause shown, the defendant shall be placed in the Drug and Alcohol Intensive Counseling and Aftercare Service Program (DAICASP)
     (or comparable program in another district) based upon a history of drug or alcohol abuse, a positive urinalysis, or evidence of excessive
     use of alcohol. This program includes (a) testing by the probation officer or an approved vendor to detect drug or alcohol abuse; (b) a
     drug treatment program which includes education, individual or group counseling, or residential treatment, provided by the probation
     office or an approved vendor; (c) placement in a community corrections center (halfway house) for up to 270 days; and/or (d) home
     confinement subject to electronic monitoring for up to 180 days. Participation in the program shall be under the administrative
     supervision of the probation officer, and the defendant shall contribute to the costs of participation unless the probation officer
     determines that the defendant does not have the ability to do so.
(18) The defendant may be placed in the probation office's computer restriction/monitoring program (or comparable program in another
     district) by virtue of a special condition of probation or supervised release contained in the Judgment. This program may include the
     following: (a) The defendant shall not possess or use any computer or portable electronic device which has the capability of
     communicating with any other electronic device without the prior approval of the probation officer or the Court. This includes, but is not
     limited to, any computer, personal digital assistant, satellite equipment, cellular telephone, or services such as computer on-line bulletin
     board services and/or internet service. The defendant shall notify the probation officer before altering or effecting repairs to any
     computer he uses. (b) The defendant shall permit the probation officer to conduct periodic, unannounced examinations of any computer
     and computer-related equipment the defendant uses, other than equipment owned by his/her employer that is maintained at a place
     of employment other than the defendant's home. The examination may include the retrieval and copying of all data from the computer,
     and internal or external peripheral equipment, and any software. (c) The defendant, under the administrative supervision of the
     probation officer, shall allow, at his expense, the installation of any hardware/software on any computer system he uses, other than
     equipment owned by his employer, to monitor his/her computer use (and/or to prevent access to prohibited materials), and he/she shall
     submit to such monitoring. The defendant shall consent to the placement of a notice on any computer upon which monitoring
     hardware/software is installed to warn others of the existence of the monitoring. (d) The defendant shall not use any computer or
     computer-related equipment owned by his/her employer except for strict benefit of his employer in the performance of his/her job-related
     duties. (e) The defendant shall consent to third-party disclosure to any employer or potential employer of any computer-related
     restrictions which have been imposed upon him/her. (f) The defendant shall provide the U.S. Probation Office with accurate information
     about all hardware and software which comprise any computer system he/she uses; all passwords used by the defendant, and
     information pertaining to all internet service providers used by the defendant, whether specifically subscribed by the defendant or not.
     The defendant shall provide written authorization for release of information from the defendant's internet service provider. (g) The
     defendant shall furnish his/her personal and business telephone records to the probation officer upon request. Furthermore, the
     defendant shall provide the probation officer with written authorization for release of information from the defendant's telephone service
     provider. (h) The defendant shall not possess or use any type of data encryption or stenography software or technique. The defendant
     shall not alter, delete, or hide records pertaining to computer access, retrieval, or storage.
(19) The defendant shall cooperate in the collection of DNA under the administrative supervision of the probation officer.
(20) If ordered to a period of supervised release after incarceration, the defendant shall report in person, within 72 hours of release from the
     custody of the Bureau of Prisons, to the probation office in the district where the defendant is released.
(21) For a defendant convicted for the first time of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall attend
     a public, private, or private non-profit offender rehabilitation program approved by the court and under the administrative supervision
     of the probation office, if an approved program is available within a 50-mile radius of the defendant's legal residence.
(22) For any defendant required to register under the Sex Offender Registration and Notification Act, the defendant shall comply with the
     terms of the Act under the administrative supervision of the probation officer. Specifically, the defendant, if convicted of a sexual offense
     as described in 18 U.S.C. § 4042(c)(4) shall report the address where the defendant will reside and any subsequent change of residence
     to the probation office, and shall register as a sex offender in any State where the defendant resides, is employed, carries on a vocation,
     or is a student.
            Case 5:14-cr-00117-LSC-SGC Document 34 Filed 10/23/14 Page 5 of 5
        USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 161 of 204
AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release


                                                                                                                  Judgment--Page 5 of 5
Defendant: MATTHEW DAVID AYERS
Case Number: 5:14-CR-117-LSC-SGC (002)

                                                SPECIAL CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

1)   The defendant shall not have any unsupervised, one-to-one contact with any children under the age of 18 other than his own children.
2)   The defendant shall not engage in any occupation, employment, or volunteer activities which would place him in a position of trust with
     children under the age of 18.
3)   The defendant shall allow the probation officer access to any photographs and/or video recordings he may possess.
4)   Pursuant to the Adam Walsh Child Protection Act of 2006, the defendant shall register as a sex offender not later than three (3) business
     days from release, if placed on supervised release, or sentencing, if placed on probation. The defendant shall keep the registration
     current in each jurisdiction in which he resides, is employed, or is a student. The defendant shall, not later than three (3) business days
     after each change in name, residence, employment, or student status, appear in person in at least one jurisdiction in which the
     defendant is registered and inform that jurisdiction of all changes in the information. Failure to do so may not only be a violation of this
     condition but also may be a new federal offense punishable by up to ten (10) years imprisonment.
5)   The defendant, being a felon and being required to register under the Sex Offender Registration and Notification Act, shall submit his
     person, and any property, house, residence, vehicle, papers, computer, other electronic communications or data storage devices or
     media, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
     suspicion concerning a violation of a condition of supervised release or unlawful conduct by the person, and by any probation officer
     in the lawful discharge of the officer's supervision functions.
6)   The defendant shall participate in an approved mental health treatment program specializing in sex offender treatment under the
     administrative supervision of the probation officer. This program may include a psycho-sexual evaluation; family, group, and/or individual
     counseling; and psychological and clinical polygraph testing. The results of the polygraph examinations may not be used as evidence
     in Court for the purpose of revocation of supervision, but may be considered in a hearing to modify conditions of release. While
     participating in treatment, the defendant shall abide by all rules and requirements of the program. The defendant shall contribute to
     the cost of treatment and polygraph testing unless the probation officer determines that the defendant does not have the ability to do
     so.
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 162 of 204




                                  38
USCA11 Case: 14-15040     Document: 13    Date Filed: 05/08/2015   Page: 163 of 204



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA


UNITED STATES OF AMERICA )
                         )
            vs.          )                  Case No: 5:14-CR-117-LSC-SGC
                         )
                         )
MATTHEW DAVID AYERS      )

                              NOTICE OF APPEAL

      Comes now the Defendant, MATTHEW DAVID AYERS in the above

styled cause, and hereby gives notice of appeal of the Court’s Judgment and

Sentence dated October 23, 2014. The Defendant has previously been determined

indigent.


                         Respectfully submitted, this 5th day of November, 2014.


                                                  /s/ W. Scott Brower
                                                  W. Scott Brower
                                                  Asb-1249-w79w

OF COUNSEL:
Brower Law Office
P.O. Box 130249
Birmingham, Alabama 35213
(205) 458-9889
USCA11 Case: 14-15040      Document: 13    Date Filed: 05/08/2015   Page: 164 of 204




                         CERTIFICATE OF SERVICE

      This is to certify that I have electronically filed the foregoing Motion with
the Clerk of the Court using the CM/ECF system and have sent notification to the
correct parties.


                                                    /s/ W. Scott Brower
                                                    OF COUNSEL
USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 165 of 204




                                  50
         Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 1 of 21          FILED
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     USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 166 of 2015
                                                                             204Mar-16 AM 10:30
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA




 1                      UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
 2                          NORTHEASTERN DIVISION
 3   UNITED STATES OF AMERICA,                     5:14-CR-117-LSC
 4               PLAINTIFF,                        JUNE 26, 2014
 5                V.                               TUSCALOOSA, AL
 6   MATTHEW DAVID AYERS,
 7               DEFENDANT.
 8   * * * * * * * * * * * * *
 9                TRANSCRIPT OF GUILTY PLEA HEARING
               BEFORE THE HONORABLE L. SCOTT COOGLER,
10                  UNITED STATES DISTRICT JUDGE
     APPEARANCES:
11
     FOR THE UNITED STATES:
12
     MARY STUART BURRELL, ESQ.
13
     ASSISTANT UNITED STATES ATTORNEY
14
     HUNTSVILLE, ALABAMA
15

16
     FOR THE DEFENDANT:
17
     W. SCOTT BROWER, ESQ.
18
     ATTORNEY AT LAW
19
     BIRMINGHAM, ALABAMA
20

21
     COURT REPORTER:
22
     LINDY M. FULLER, RMR, CRR, CBC
23
     FEDERAL OFFICIAL COURT REPORTER
24
     BIRMINGHAM, ALABAMA
25
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 2 of 21 2
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 167 of 204

   1                       P R O C E E D I N G S
   2                             (IN OPEN COURT)
   3                  THE COURT:     ALL RIGHT.     THIS IS UNITED
   4    STATES OF AMERICA V. MATTHEW DAVID AYERS, CASE
   5    NUMBER 2014-117.       WE ARE HERE FOR THE PURPOSE OF
   6    ALLOWING THE DEFENDANT TO ENTER A PLEA OF GUILTY,
   7    IF HE WANTS TO DO THAT.
   8                  IS THE GOVERNMENT READY TO PROCEED?
   9                  MS. BURRELL:     WE ARE, YOUR HONOR.
 10                   THE COURT:     DEFENSE READY TO PROCEED?
 11                   MR. BROWER:     YES, YOUR HONOR.
 12                   THE COURT:     MR. AYERS, I HAVE SET THIS
 13     AS AN OPPORTUNITY FOR YOU TO PLEAD GUILTY, IF
 14     THAT'S WHAT YOU DECIDE YOU WANT TO DO, BUT I AM
 15     GOING TO HAVE SOME QUESTIONS FOR YOU.            I NEED TO
 16     MAKE SURE THAT YOU UNDERSTAND WHAT YOU ARE DOING.
 17     THAT IT'S YOUR FREE AND VOLUNTARY ACT.
 18                   DO YOU UNDERSTAND ME?
 19                   THE DEFENDANT:      YES, YOUR HONOR.
 20                   THE COURT:     OKAY.    YOU ARE GOING TO BE
 21     PLACED UNDER OATH AND IF YOU DON'T PROVIDE ME THE
 22     TRUTH, YOU COULD BE CHARGED WITH PERJURY AS AN
 23     ADDITIONAL OFFENSE.
 24                   DO YOU UNDERSTAND ME?
 25                   THE DEFENDANT:      YES, SIR.
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 3 of 21 3
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 168 of 204

   1                  THE COURT:     STAND UP, PLEASE, AND TAKE
   2    THIS OATH.
   3                       (DEFENDANT DULY SWORN)
   4                  THE COURT:     TELL ME YOUR FULL NAME.
   5                  THE DEFENDANT:      MATTHEW DAVID AYERS.
   6                  THE COURT:     WHAT'S YOUR DATE OF BIRTH?
   7                  THE DEFENDANT:      7-31-1971.
   8                  THE COURT:     AND HOW FAR DID YOU GET IN
   9    SCHOOL?
 10                   THE DEFENDANT:      I MADE THROUGH SOME
 11     COLLEGE BUT NOT COMPLETELY.
 12                   THE COURT:     SO YOU CAN READ AND
 13     UNDERSTAND THE ENGLISH LANGUAGE?
 14                   THE DEFENDANT:      YES, SIR.
 15                   THE COURT:     YOU HAVE ENCOUNTERED
 16     VARIOUS DOCUMENTS IN THIS CASE.           HAVE YOU BEEN
 17     ABLE TO READ THEM?
 18                   THE DEFENDANT:      YES, SIR.
 19                   THE COURT:     HAVE YOU BEEN ABLE TO
 20     UNDERSTAND THEM?
 21                   THE DEFENDANT:      YES, SIR.
 22                   THE COURT:     LET'S TALK ABOUT YOUR
 23     LAWYER, WHO IS SITTING RIGHT THERE BESIDE YOU.
 24     HOW HAS HE DONE AS FAR AS ATTORNEY GOES?
 25                   THE DEFENDANT:      I AM COMPLETELY
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 4 of 21 4
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 169 of 204

   1    SATISFIED WITH EVERYTHING HE HAS DONE.
   2                  THE COURT:     HAS HE BEEN ABLE TO EXPLAIN
   3    THE DOCUMENTS YOU HAVE ENCOUNTERED, FOR INSTANCE?
   4                  THE DEFENDANT:      YES, SIR.
   5                  THE COURT:     HAS HE SPENT WHAT YOU THINK
   6    TO BE A SUFFICIENT AMOUNT OF TIME HELPING YOU WITH
   7    YOUR CASE, TALKING TO YOU, INVESTIGATING THINGS?
   8                  THE DEFENDANT:      YES, SIR.
   9                  THE COURT:     ALL RIGHT.     THERE IS A
 10     DOCUMENT THAT'S BEEN FILED WITH THE COURT AND IT'S
 11     CALLED A GUILTY PLEA ADVICE OF RIGHTS
 12     CERTIFICATION.      IT APPEARS TO HAVE YOUR INITIALS
 13     ON ONE SIDE OF THE PAGE.         YOUR LAWYER IS SHOWING
 14     YOU A COPY OF THAT.
 15                   DO YOU SEE THAT DOCUMENT?
 16                   THE DEFENDANT:      YES, SIR.
 17                   THE COURT:     AND HAVE YOU SEEN IT
 18     BEFORE?
 19                   THE DEFENDANT:      YES, SIR.
 20                   THE COURT:     DID YOU READ IT?
 21                   THE DEFENDANT:      YES, SIR.
 22                   THE COURT:     AND IS THAT YOUR SIGNATURE
 23     GOING DOWN ONE SIDE OF EACH PAGE?
 24                   THE DEFENDANT:      THE INITIALS?
 25                   THE COURT:     YES, I MEAN THE INITIALS.
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 5 of 21 5
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 170 of 204

   1                  THE DEFENDANT:      YES, SIR.
   2                  THE COURT:     AND IS THAT YOUR SIGNATURE
   3    ON THE LAST PAGE?
   4                  MR. BROWER:     OUR COPY ACTUALLY DOES NOT
   5    HAVE A LAST PAGE, YOUR HONOR.
   6                  THE COURT:     LET'S COME GET THIS,
   7    PLEASE, AND SHOW HIM.
   8                  OUR COPIER PROBABLY ATE THE LAST PAGE.
   9                  AND I WILL NEED THAT BACK WHEN YOU ARE
 10     DONE.
 11                   THE DEFENDANT:      YES, SIR.     THAT'S MY
 12     SIGNATURE.
 13                   THE COURT:     IS THAT YOUR SIGNATURE?
 14                   THE DEFENDANT:      YES, SIR.
 15                   THE COURT:     IN THE LAST 48 HOURS OR TWO
 16     DAYS, HAVE YOU CONSUMED ANY ALCOHOLIC BEVERAGE?
 17                   THE DEFENDANT:      NO, SIR.
 18                   THE COURT:     IN THE LAST TWO DAYS, HAVE
 19     YOU TAKEN ANY DRUGS, LEGAL OR ILLEGAL?
 20                   THE DEFENDANT:      I HAVE TAKEN
 21     PRESCRIPTION DRUGS FOR HIGH BLOOD PRESSURE.
 22                   THE COURT:     AND HAVE YOU TAKEN THOSE
 23     PRESCRIPTION DRUGS IN ACCORDANCE WITH THE
 24     PRESCRIPTIONS?
 25                   THE DEFENDANT:      YES, SIR.
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 6 of 21 6
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 171 of 204

   1                  THE COURT:     ARE YOU FEELING ANY
   2    NEGATIVE SIDE AFFECTS FROM EITHER THE MEDICATION
   3    OR THE CONDITION FOR WHICH YOU TAKE THAT
   4    MEDICATION?
   5                  THE DEFENDANT:      NO, SIR.
   6                  THE COURT:     ARE YOU SUFFERING FROM ANY
   7    MENTAL OR EMOTIONAL IMPAIRMENT OR PHYSICAL ILLNESS
   8    THAT MIGHT AFFECT YOUR ABILITY TO UNDERSTAND WHAT
   9    WE ARE DOING HERE TODAY?
 10                   THE DEFENDANT:      NO, SIR.
 11                   THE COURT:     DO YOU RECALL AN OCCASION
 12     WHERE YOU APPEARED BEFORE A JUDGE, WE CALL IT AN
 13     ARRAIGNMENT, AND THE JUDGE WOULD HAVE GIVEN YOU A
 14     COPY OF YOUR INDICTMENT, THIS THICK DOCUMENT HERE,
 15     AND WOULD HAVE ASKED YOU HOW YOU PLED AND YOU SAID
 16     "I PLEAD NOT GUILTY" -- DO YOU REMEMBER THAT
 17     HAPPENING?
 18                   THE DEFENDANT:      YES, SIR, ALTHOUGH I
 19     DIDN'T GET THE DOCUMENT THAT DAY.
 20                   THE COURT:     ALL RIGHT.     DID IT GO TO
 21     YOUR LAWYER, IS THAT WHAT YOU ARE SAYING?
 22                   THE DEFENDANT:      YES, SIR.
 23                   THE COURT:     AND DID YOUR ATTORNEY LATER
 24     GIVE YOU A COPY OF IT?
 25                   THE DEFENDANT:      YES, SIR.
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 7 of 21 7
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 172 of 204

   1                  THE COURT:     DID YOU READ IT?
   2                  THE DEFENDANT:      YES, SIR.
   3                  THE COURT:     AND DID YOUR LAWYER EXPLAIN
   4    THE CHARGES TO YOU THAT WERE CONTAINED IN THAT
   5    DOCUMENT?
   6                  THE DEFENDANT:      YES, SIR.
   7                  THE COURT:     DO YOU UNDERSTAND WHAT YOU
   8    ARE CHARGED WITH?
   9                  THE DEFENDANT:      YES, SIR.
 10                   THE COURT:     AT THAT TIME, YOU PLED NOT
 11     GUILTY.     AND PLEADING NOT GUILTY MAKES SURE THAT
 12     YOU WON'T BE CONVICTED OF ANYTHING UNLESS EITHER,
 13     ONE, WE HAVE THIS TYPE OF PROCEEDING, GUILTY PLEA
 14     PROCEEDING AND YOU PLEAD GUILTY AND I ACCEPT IT,
 15     OR, TWO, WE HAVE A TRIAL AND A JURY OF YOUR PEERS
 16     FINDS YOU GUILTY.
 17                   DO YOU UNDERSTAND THAT?
 18                   THE DEFENDANT:      YES, SIR.
 19                   THE COURT:     AND IF YOU DO ELECT TO GO
 20     TO TRIAL, WHICH YOU CAN DO, WHEN I GET THROUGH
 21     WITH EVERYTHING I AM GOING TO ASK YOU ABOUT -- THE
 22     LAST THING I AM GOING TO BE ASKING YOU IS HOW DO
 23     YOU PLEAD?     IF YOU TELL ME YOU PLEAD NOT GUILTY
 24     WHEN I ASK YOU THAT AT THE END, THEN YOU WOULD
 25     CONTINUE TO HAVE YOUR RIGHT TO GO TO TRIAL.              DO
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 8 of 21 8
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 173 of 204

   1    YOU UNDERSTAND ME?
   2                  THE DEFENDANT:      YES, SIR.
   3                  THE COURT:     AND IF YOU DO GO TO TRIAL,
   4    YOU WOULD HAVE THE RIGHT TO CONFRONT AND CROSS
   5    EXAMINE ALL THE WITNESSES AGAINST YOU, YOU WOULD
   6    HAVE THE RIGHT TO CALL YOUR OWN WITNESSES TO COME
   7    TESTIFY IN YOUR BEHALF.         DO YOU UNDERSTAND ALL
   8    THAT?
   9                  THE DEFENDANT:      YES, SIR.
 10                   THE COURT:     YOU HAVE THE RIGHT TO TAKE
 11     THE WITNESS STAND YOURSELF IF YOU WANT TO DO THAT
 12     BUT YOU ARE THE ONE WHO MAKES THAT DECISION;
 13     NOBODY ELSE MAKES THAT DECISION.           YOU CAN TALK TO
 14     YOUR COUSIN, TALK TO YOUR LAWYER, BUT IN THE END
 15     YOU ARE GOING TO MAKE THAT DECISION.            DO YOU
 16     UNDERSTAND ME?
 17                   THE DEFENDANT:      YES, SIR.
 18                   THE COURT:     AT THE TRIAL, YOU WOULD
 19     HAVE THE RIGHT TO BE ASSISTED BY CONSTITUTIONALLY-
 20     ADEQUATE ATTORNEY SUCH AS THE GENTLEMAN WITH YOU.
 21     BUT YOU WOULD ALSO HAVE THAT RIGHT EVEN IF YOU
 22     PLED GUILTY TO ASSIST YOU IN THE REMAINING
 23     PROCEEDINGS, THE SENTENCING, IF THERE IS AN
 24     APPEAL, IF THAT'S APPROPRIATE, AND THE APPEAL AS
 25     WELL.    DO YOU UNDERSTAND ALL THAT?
    Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 9 of 21 9
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 174 of 204

   1                  THE DEFENDANT:      YES, SIR.
   2                  THE COURT:     AT TRIAL, AS I HAVE SAID,
   3    YOU WOULD HAVE THE RIGHT TO CONFRONT AND CROSS
   4    EXAMINE THE EVIDENCE AGAINST YOU.           YOU WOULD BE
   5    PRESUMED TO BE INNOCENT OF THE CHARGES AT TRIAL.
   6    AND THAT WOULD ACTUALLY BE CONSIDERED BY THE JURY
   7    AS EVIDENCE IN YOUR FAVOR.         AND THE GOVERNMENT
   8    WOULD HAVE TO PROVE YOU GUILTY BEYOND A REASONABLE
   9    DOUBT.    IF THE GOVERNMENT, IF THEY WEREN'T ABLE TO
 10     DO IT OR DIDN'T SUCCEED PROVING YOU GUILTY BEYOND
 11     A REASONABLE DOUBT, YOU WOULD BE ENTITLED TO A
 12     VERDICT OF NOT GUILTY BECAUSE YOU HAVE NO BURDEN
 13     OF PROOF WHATSOEVER.        DO YOU UNDERSTAND ME?
 14                   THE DEFENDANT:      YES, SIR.
 15                   THE COURT:     SO, IF YOU PLEAD GUILTY AND
 16     I ACCEPT THE GUILTY PLEA, YOU WOULD BE JUST AS
 17     GUILTY AS IF WE HAD A TRIAL.          YOU WOULD LOSE SOME
 18     THINGS AS WELL.       YOU WOULD LOSE THE PRESUMPTION OF
 19     INNOCENCE, YOU WOULD LOSE THE RIGHT TO INSIST UPON
 20     PROOF BEYOND A REASONABLE DOUBT, YOU WOULD LOSE
 21     THE RIGHT TO BE TRIED BY A JURY, YOU WOULD LOSE
 22     THE RIGHT TO CONFRONT AND CROSS EXAMINE THE
 23     WITNESSES AGAINST YOU, YOU WOULD LOSE THE RIGHT TO
 24     CALL WITNESSES TO TESTIFY IN YOUR BEHALF, AND YOU
 25     WOULD LOSE THE RIGHT TO REFUSE TO TESTIFY BECAUSE,
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 10 of 21 10
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 175 of 204

   1    IN FACT, YOU DO TESTIFY; BY PLEADING GUILTY YOU
   2    TELL ME THAT YOU ARE GUILTY AND READY TO BE
   3    SENTENCED.
   4                  THE ONLY THING LEFT FOR US TO DO,
   5    FRANKLY, WOULD BE PRONOUNCE YOU GUILTY AND SET
   6    YOUR SENTENCING.       DO YOU UNDERSTAND THAT?
   7                  THE DEFENDANT:      YES, SIR.
   8                  THE COURT:     NOW, IN THIS CASE, IT'S MY
   9    UNDERSTANDING THAT YOU INTEND TO PLEAD GUILTY TO
 10     COUNTS 11, 13, 15, 17, 19, 21, 23, 25, 27, 29, 31,
 11     33, 35, 37, 39, 41, 43, 45, 47, 49, 51, 53, 55,
 12     57, AND 89; IS THAT CORRECT?
 13                   THE DEFENDANT:      YES, SIR.
 14                   THE COURT:     NOW, THOSE ARE ALL CHARGES
 15     THAT CHARGE YOU WITH VIOLATING 18 USC SECTION
 16     2251(A) AND I AM GOING TO ASK THE GOVERNMENT TO
 17     EXPLAIN THE NATURE AND MATERIAL ELEMENTS OF THAT
 18     OFFENSE.     IN OTHER WORDS, WHAT THEY WOULD HAVE TO
 19     PROVE TO PROVE YOU GUILTY OF THAT OFFENSE.             SO
 20     LISTEN TO WHAT THE GOVERNMENT'S SAYING ABOUT THAT.
 21                   MS. BURRELL:     YOUR HONOR, BEFORE I DO
 22     THAT, I WOULD LIKE TO EXPLAIN THAT, AS YOU KNOW,
 23     HIS CO-DEFENDANT PLED GUILTY JUST PRIOR TO HIS
 24     ENTERING A GUILTY PLEA.         THERE WERE ACTUALLY 53
 25     IMAGES RECOVERED.       THIS DEFENDANT IS PLEADING
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 11 of 21 11
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 176 of 204

   1    GUILTY TO ONLY 25 OF THE IMAGES BECAUSE WE FELT
   2    LIKE AFTER VIEWING THE IMAGES, THOSE IMAGES, THOSE
   3    25 WERE THE ONES THAT WE COULD PROVE FOR A FACT HE
   4    PARTICIPATED IN THE PRODUCTION OF BECAUSE EITHER
   5    HE IS AN ACTIVE PARTICIPANT IN THE PICTURES OR WE
   6    SAW SOME PORTION OF HIS BODY IN THE PICTURE, OR
   7    THE CO-DEFENDANT WAS ACTUALLY HAVING SEXUAL
   8    CONTACT WITH THE CHILD THEREFORE HE HAD TO HAVE
   9    BEEN THE ONE THAT TOOK THE PICTURES.            SO THAT'S
 10     HOW WE CAME UP WITH 25.         AND HIS CO-DEFENDANT PLED
 11     GUILTY TO EVERY SINGLE ONE OF THEM BECAUSE WE
 12     BELIEVE SHE PARTICIPATED IN PRODUCTION OF ALL OF
 13     THE IMAGES.
 14                   SO, THE 25 IMAGES THAT HE IS PLEADING
 15     GUILTY TO TODAY, HE IS GOING TO PLEAD GUILTY TO --
 16     THE FIRST WAY TO PROVE PRODUCTION OF CHILD
 17     PORNOGRAPHY AND THE ELEMENTS OF THAT OFFENSE ARE
 18     THAT THE DEFENDANT EMPLOYED, USED, PERSUADED,
 19     INDUCED, ENTICED OR COERCED THE VICTIM TO TAKE
 20     PART IN SEXUALLY-EXPLICIT CONDUCT FOR THE PURPOSE
 21     OF PRODUCING A VISUAL DEPICTION OF SUCH CONDUCT.
 22                   SECONDLY, AT THE TIME THE VICTIM WAS A
 23     MINOR.    AND, THIRD, THAT THE DEFENDANT KNEW OR HAD
 24     REASON TO KNOW THAT SUCH VISUAL DEPICTION WOULD BE
 25     TRANSPORTED AND TRANSMITTED USING A MEANS AND
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 12 of 21 12
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 177 of 204

   1    FACILITY OF INTERSTATE AND FOREIGN COMMERCE AND IN
   2    AND AFFECTING INTERSTATE OR FOREIGN COMMERCE.              OR
   3    THAT SAID VISUAL DEPICTION WAS PRODUCED AND
   4    TRANSMITTED USING MATERIAL THAT HAD BEEN MAILED,
   5    SHIPPED, AND TRANSPORTED IN INTERSTATE AND FOREIGN
   6    COMMERCE BY ANY MEANS.        OR, THAT SUCH VISUAL
   7    DEPICTION HAD ACTUALLY BEEN TRANSPORTED AND
   8    TRANSMITTED USING ANY MEANS AND FACILITY OF
   9    INTERSTATE AND FOREIGN COMMERCE AND IN AND
 10     AFFECTING INTERSTATE OR FOREIGN COMMERCE.
 11                   THE COURT:     OKAY.    DO YOU UNDERSTAND
 12     WHAT THE GOVERNMENT SAID?
 13                   THE DEFENDANT:      YES, SIR.
 14                   THE COURT:     AND DO YOU UNDERSTAND WHAT
 15     THE GOVERNMENT HAS TO PROVE TO PROVE YOU GUILTY OF
 16     THOSE OFFENSE?
 17                   THE DEFENDANT:      YES, SIR.
 18                   THE COURT:     DOES THAT SATISFY DEFENSE
 19     COUNSEL?
 20                   MR. BROWER:     YES, YOUR HONOR.
 21                   THE COURT:     ANOTHER THING THAT I NEED
 22     TO DO BESIDE MAKING SURE THAT YOU KNOW WHAT THE
 23     GOVERNMENT HAS TO PROVE TO PROVE YOU GUILTY OF THE
 24     OFFENSES IS MAKE SURE THAT YOU UNDERSTAND THE
 25     RANGE OF PUNISHMENT THAT YOU ARE FACING.             THERE IS
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 13 of 21 13
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 178 of 204

   1    TWO RANGES OF PUNISHMENT WE ARE GOING TO TALK
   2    ABOUT; ONE IS THE STATUTORY RANGE AND THE OTHER IS
   3    THE SENTENCING GUIDELINE RANGE.
   4                I ASSUME YOUR LAWYER HAS GONE OVER WITH
   5    YOU WHAT THE GUIDELINE RANGE HE THINKS -- WHAT IT
   6    WILL END UP BEING IN YOUR CASE.           HAS HE DONE THAT?
   7                  THE DEFENDANT:      YES, SIR.
   8                  THE COURT:     HE MAY HAVE IT CORRECT BUT
   9    THEN HE MAY NOT.       NOBODY CAN TELL YOU WHAT THAT
 10     GUIDELINE RANGE WILL END UP BEING UNTIL WE HAVE
 11     YOUR SENTENCING HEARING AND I RULE ON WHAT COMES
 12     IN AND WHAT DOESN'T COME IN.
 13                   I WILL TELL YOU THIS.        THE ADVISORY
 14     GUIDELINE RANGE IS JUST THAT -- IT'S ADVISORY.
 15     IT'S TO HELP ME DETERMINE AN APPROPRIATE SENTENCE
 16     TO GIVE YOU HAVE.       MY JOB IN THE END WILL BE TO
 17     SENTENCE YOU TO A SENTENCE WHICH IS SUFFICIENT BUT
 18     NOT MORE THAN NECESSARY TO ACCOMPLISH THE
 19     SENTENCING GOALS SET FORTH IN THE FEDERAL
 20     STATUTES.
 21                   NOW, WITH THAT SAID, I WILL TELL YOU
 22     THIS.    IF YOU FIND OUT THAT YOUR LAWYER GOT THE
 23     SENTENCING GUIDELINE RANGE WRONG OR IT WAS
 24     INCORRECT IN WHAT HE THOUGHT IT WOULD END UP
 25     BEING, IT WILL NOT CONSTITUTE GROUNDS TO SET ASIDE
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 14 of 21 14
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 179 of 204

   1    THE GUILTY PLEA.       DO YOU UNDERSTAND ME?
   2                  THE DEFENDANT:      YES, SIR.
   3                  THE COURT:     YOU ARE BOUND BY THE
   4    STATUTORY RANGE OF PUNISHMENT; WE ALL ARE.             AND
   5    THE STATUTORY RANGE OF PUNISHMENT IN YOUR CASE IS
   6    AS FOLLOWS.      YOU WILL BE SUBJECT AS TO EACH COUNT
   7    TO THE FOLLOWING.       A FINE OF NO MORE THAN
   8    $250,000; IN-CUSTODY IMPRISONMENT NO LESS THAN 15
   9    YEARS, NO MORE THAN 30 YEARS; SUPERVISED RELEASE
 10     TERM OF NOT LESS THAN FIVE YEARS, NO MORE THAN
 11     YOUR LIFETIME; AN ASSESSMENT FEE OF $100;
 12     RESTITUTION WOULD APPLY, AND SENTENCING GUIDELINES
 13     APPLY AS WELL.
 14                   FURTHER, IF YOU HAVE GOT A PREVIOUS
 15     CONVICTION OR MORE, ONE OR MORE PREVIOUS
 16     CONVICTIONS FOR RELATED OFFENSES, YOUR PUNISHMENT
 17     WOULD BE -- FOR ONE SUCH PREVIOUS OFFENSE YOUR
 18     PUNISHMENT WOULD CHANGE YOUR IN-CUSTODY
 19     IMPRISONMENT PUNISHMENT WOULD INSTEAD BE NOT LESS
 20     THAN 25 YEARS, NO MORE THAN 50 YEARS.            AND IF YOU
 21     HAVE MORE THAN ONE RELATED OFFENSE AS A PRIOR
 22     CONVICTION, THAT MEANS THAT YOU WERE CONVICTED OF
 23     IT PRIOR TO DATE OF BEING CHARGED WITH THIS
 24     PARTICULAR OFFENSE, OR THESE PARTICULAR OFFENSES,
 25     YOUR IN-CUSTODY IMPRISONMENT WOULD BECOME INSTEAD
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 15 of 21 15
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 180 of 204

   1    NOT LESS THAN 35 YEARS, NO MORE THAN YOUR
   2    LIFETIME.
   3                  DO YOU UNDERSTAND ALL OF WHAT I HAVE
   4    SAID?
   5                  THE DEFENDANT:      YES, SIR.
   6                  THE COURT:     DID YOUR LAWYER GO OVER
   7    WHAT IS MEANT BY THESE RELATED OFFENSES?
   8                  THE DEFENDANT:      YES, SIR.
   9                  THE COURT:     PLEA AGREEMENTS -- AND I
 10     WILL SAY THIS.      THESE ARE FELONIES AND, AS SUCH,
 11     MAY DEPRIVE YOU OF VALUABLE CIVIL RIGHTS SUCH AS
 12     THE RIGHT TO VOTE, HOLD PUBLIC OFFICE, SERVE ON
 13     ANY JURY, OR POSSESS ANY TYPE OF FIREARM.             DO YOU
 14     UNDERSTAND ME?
 15                   THE DEFENDANT:      YES, SIR.
 16                   THE COURT:     PLEA AGREEMENTS ARE
 17     PERMITTED BUT YOU HAVE TO DISCLOSE THE EXISTENCE
 18     OF THE PLEA AGREEMENT AND THE TERMS AND CONDITIONS
 19     OF THE PLEA AGREEMENT.        THERE HAS BEEN A DOCUMENT
 20     FILED WITH THE COURT CALLED PLEA AGREEMENT.              YOUR
 21     LAWYER IS SHOWING YOU A COPY OF IT NOW.             HAVE YOU
 22     SEEN THAT DOCUMENT BEFORE?
 23                   THE DEFENDANT:      YES, SIR.
 24                   THE COURT:     DID YOU READ IT?
 25                   THE DEFENDANT:      YES, SIR.
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 16 of 21 16
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 181 of 204

   1                  THE COURT:     DID YOUR LAWYER GO OVER IT
   2    WITH YOU AS WELL?
   3                  THE DEFENDANT:      YES, SIR.
   4                  THE COURT:     ARE THOSE YOUR INITIALS IN
   5    THE CORNER OF EACH PAGE?
   6                  THE DEFENDANT:      YES, SIR.
   7                  THE COURT:     DOES THIS DOCUMENT STATE
   8    THE ENTIRE AGREEMENT THAT YOU HAD OR THAT YOU HAVE
   9    WITH THE GOVERNMENT?
 10                   THE DEFENDANT:      YES, SIR.
 11                   THE COURT:     I WILL ASK YOUR LAWYER,
 12     DOES THIS DOCUMENT STATE THE ENTIRE AGREEMENT THAT
 13     YOUR CLIENT HAS WITH THE GOVERNMENT?
 14                   MR. BROWER:     YES, YOUR HONOR.
 15                   THE COURT:     AND, GOVERNMENT, DOES THIS
 16     DOCUMENT STATE THE ENTIRE AGREEMENT THAT THE
 17     GOVERNMENT HAS WITH THE DEFENDANT?
 18                   MS. BURRELL:     YES, YOUR HONOR.
 19                   THE COURT:     TURN, IF YOU WILL, TO PAGE
 20     SIX.    THERE APPEARS TO BE A SIGNATURE THERE AND
 21     IT'S IMMEDIATELY FOLLOWING THE SECTION CALLED THE
 22     FACTUAL BASIS.      HAVE YOU READ THAT FACTUAL BASIS
 23     THAT'S THERE?
 24                   THE DEFENDANT:      YES, SIR.
 25                   THE COURT:     DOES THAT FACTUAL BASIS
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 17 of 21 17
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 182 of 204

   1    ACCURATELY PORTRAY WHAT REALLY HAPPENED?
   2                  THE DEFENDANT:      YES, SIR.
   3                  THE COURT:     AND DO YOU STIPULATE AND
   4    AGREE THAT THE FACTS AS STATED, I SHOULD RELY UPON
   5    THEM; THEY ARE ACCURATE?
   6                  THE DEFENDANT:      YES, SIR.
   7                  THE COURT:     AND IS THAT YOUR SIGNATURE
   8    THERE ON PAGE SIX?
   9                  THE DEFENDANT:      YES, IT IS.
 10                   THE COURT:     TURN, IF YOU WILL, TO PAGE
 11     13.    IS THAT YOUR SIGNATURE?
 12                   THE DEFENDANT:      YES, SIR.
 13                   THE COURT:     WHEN YOU SIGNED IT THERE ON
 14     PAGE 13, WERE YOU ACKNOWLEDGING THAT YOU HAD
 15     WAIVED OR GIVEN UP YOUR RIGHT TO APPEAL OR FILE A
 16     POST-CONVICTION PETITION EXCEPT IN THE LIMITED
 17     CIRCUMSTANCES SET FORTH ABOVE YOUR SIGNATURE?
 18                   THE DEFENDANT:      YES, SIR.
 19                   THE COURT:     AND IS THAT YOUR SIGNATURE
 20     AT THE TOP OF PAGE 19?
 21                   THE DEFENDANT:      YES, SIR.
 22                   THE COURT:     NOW, WHEN YOU SIGNED IT
 23     THERE ON PAGE 19, WERE YOU ACKNOWLEDGING THAT WAS,
 24     IN FACT, YOUR AGREEMENT?
 25                   THE DEFENDANT:      YES, SIR.
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 18 of 21 18
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 183 of 204

   1                  THE COURT:     HAS ANYBODY THREATENED YOU,
   2    FORCED YOU, OR COERCED YOU IN ANY WAY TO GET YOU
   3    TO PLEAD GUILTY?
   4                  THE DEFENDANT:      NO, SIR.
   5                  THE COURT:     ARE YOU WANTING TO PLEAD
   6    GUILTY BECAUSE YOU ARE GUILTY?
   7                  THE DEFENDANT:      YES, SIR.
   8                  THE COURT:     DO YOU KNOW ANY REASON I
   9    SHOULD NOT ACCEPT THIS DEFENDANT'S GUILTY PLEA IF
 10     HE OFFERS IT?
 11                   MR. BROWER:     I DO NOT, YOUR HONOR.
 12                   THE COURT:     DO YOU KNOW ANY REASON I
 13     SHOULD NOT ACCEPT THIS DEFENDANT'S GUILTY PLEA IF
 14     IT'S OFFERED.
 15                   MS. BURRELL:     NO, YOUR HONOR.       I WOULD
 16     PUT ON THE RECORD AGAIN THAT HE IS REPRESENTED BY
 17     A VERY GOOD ATTORNEY, SCOTT BROWER.            I DID PROVIDE
 18     HIM WITH ALL OF THE DISCOVERY IN THIS CASE EXCEPT
 19     FOR THE DISCOVERY DOCUMENTS THAT I AM PROHIBITED
 20     BY LAW FROM GIVING HIM, SUCH AS THE DHR REPORTS
 21     AND THE CHILD'S COUNSELING REPORTS.            I DID MEET
 22     WITH MR. BROWER IN MY OFFICE IN HUNTSVILLE TO GO
 23     OVER THE IMAGES RECOVERED IN THIS CASE.             HE SAW
 24     THEM.    I AM SURE HE DISCUSSED THEM WITH HIS
 25     CLIENT.     MANY OF THE IMAGES CLEARLY, CLEARLY SHOW
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 19 of 21 19
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 184 of 204

   1    THE DEFENDANT ENGAGED IN ORAL AND VAGINAL
   2    INTERCOURSE WITH THIS LITTLE GIRL.            SO I AM SURE
   3    THAT HE DISCUSSED, HAD WE GONE TO TRIAL, THOSE
   4    IMAGES WERE GOING TO BE SHOWN TO THE JUDGE AND THE
   5    JURY.    SO I KNOW THEY HAVE HAD LONG CONVERSATIONS
   6    ABOUT WHETHER HE SHOULD ENTER A GUILTY PLEA OR
   7    NOT, AND I AM SURE THAT HE TODAY IS ENTERING A
   8    KNOWING GUILTY PLEA.
   9                  THE COURT:     THANK YOU.
 10                        ALL RIGHT.      DO YOU UNDERSTAND YOU
 11     HAVE A RIGHT TO GO TO TRIAL?
 12                   THE DEFENDANT:      YES, SIR.
 13                   THE COURT:     I AM GOING TO ASK YOU HOW
 14     YOU PLEAD.     YOU CAN EITHER PLEAD GUILTY OR NOT
 15     GUILTY.     IF YOU PLEAD NOT GUILTY, WE WILL GO TO
 16     TRIAL AND WE'LL SELECT A JURY.          DO YOU UNDERSTAND
 17     ALL THAT?
 18                   THE DEFENDANT:      YES, SIR, I UNDERSTAND.
 19                   THE COURT:     DO YOU UNDERSTAND IF YOU
 20     PLEAD GUILTY, YOU WILL NO LONGER HAVE THAT RIGHT?
 21                   THE DEFENDANT:      I UNDERSTAND.
 22                   THE COURT:     TO THE OFFENSES CHARGED
 23     AGAINST YOU IN COUNTS 11, 13, 15, 17, 19, 21, 23,
 24     25, 27, 29, 31, 33, 35, 37, 39, 41, 43, 45, 47,
 25     49, 51, 53, 55, 57, AND 89, HOW DO YOU PLEAD?
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 20 of 21 20
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 185 of 204

   1                  THE DEFENDANT:      I PLEAD GUILTY, YOUR
   2    HONOR.
   3                  THE COURT:     IT IS THE FINDING OF THIS
   4    COURT THAT THE DEFENDANT IS FULLY COMPETENT AND
   5    CAPABLE OF ENTERING AN INFORMED PLEA, THAT HE IS
   6    AWARE OF THE NATURE OF THE CHARGES AND THE
   7    CONSEQUENCES OF HIS PLEA, AND THAT THE PLEA OF
   8    GUILTY IS A KNOWING AND VOLUNTARY PLEA SUPPORTED
   9    BY AN INDEPENDENT BASIS IN FACT CONTAINING EACH OF
 10     THE ESSENTIAL ELEMENTS OF THE OFFENSES.             THE PLEA
 11     IS THEREFORE ACCEPTED AND THE DEFENDANT NOW
 12     ADJUDGED GUILTY OF THOSE OFFENSES.
 13                   WE'LL SET YOU UP FOR SENTENCING AND
 14     BRING YOU BACK.
 15                   THANK YOU.
 16                        (COURT IN RECESS.)
 17
 18
 19
 20
 21
 22
 23
 24
 25
   Case 5:14-cr-00117-LSC-SGC Document 50 Filed 03/16/15 Page 21 of 21 21
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 186 of 204

   1    **************************************************
   2                     C E R T I F I C A T E
   3    ******************************************
   4    IN RE:      USA V. MATTHEW DAVID AYERS
   5    CASE #:       5:14-CR-117-LSC
   6
   7              I HEREBY CERTIFY THAT THE FOREGOING
   8    TRANSCRIPT IN THE ABOVE-STYLED CAUSE IS
   9    TRUE AND ACCURATE.
 10     __________________________               MARCH 13, 2015
 11     LINDY M. FULLER, RMR, CRR, CBC                 DATE
 12     FEDERAL OFFICIAL COURT REPORTER
 13     HUGO L. BLACK U.S. COURTHOUSE
 14     1729 5TH AVENUE NORTH, SUITE
 15     BIRMINGHAM, ALABAMA        35203
 16
 17
 18
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 21
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 23
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USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 187 of 204




                                  51
         Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 1 of 15          FILED
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     USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 188 of 2015
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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA




1                       UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
 2                          NORTHEASTERN DIVISION
3    UNITED STATES OF AMERICA,                     5:14-CR-117-LSC
4                PLAINTIFF,                        OCTOBER 22, 2014
5                 V.                               TUSCALOOSA, AL
6    MATTHEW DAVID AYERS,
7                DEFENDANT.
8    * * * * * * * * * * * * *
9                  TRANSCRIPT OF SENTENCING HEARING
               BEFORE THE HONORABLE L. SCOTT COOGLER,
10                   UNITED STATES DISTRICT JUDGE
     APPEARANCES:
11
     FOR THE UNITED STATES:
12
     MARY STUART BURRELL, ESQ.
13
     ASSISTANT UNITED STATES ATTORNEY
14
     HUNTSVILLE, ALABAMA
15

16
     FOR THE DEFENDANT:
17
     W. SCOTT BROWER, ESQ.
18
     ATTORNEY AT LAW
19
     BIRMINGHAM, ALABAMA
20

21
     COURT REPORTER:
22
     LINDY M. FULLER, RMR, CRR, CBC
23
     FEDERAL OFFICIAL COURT REPORTER
24
     BIRMINGHAM, ALABAMA
25
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 2 of 15 2
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 189 of 204

   1                             P R O C E E D I N G S
   2                                (IN OPEN COURT)
   3                  THE COURT:     THIS IS UNITED STATES OF
   4    AMERICA V. MATTHEW AYERS, CASE NUMBER 2014-117.
   5    WE ARE HERE FOR THE PURPOSE OF SENTENCING THE
   6    DEFENDANT.     IS THE GOVERNMENT READY TO PROCEED?
   7                  MS. BURRELL:     WE ARE READY, YOUR HONOR.
   8                  THE COURT:     DEFENSE READY TO PROCEED?
   9                  MR. BROWER:     YES, YOUR HONOR.
 10                   THE COURT:     MR. BROWER, HAVE YOU AND
 11     YOUR CLIENT HAD AT LEAST 35 DAYS TO REVIEW THE
 12     PRESENTENCE REPORT?
 13                   MR. BROWER:     YES, YOUR HONOR.
 14                   THE COURT:     YOU HAVE NOT MADE ANY
 15     OBJECTIONS TO IT; IS THAT CORRECT?
 16                   MR. BROWER:     THAT'S CORRECT, YOUR
 17     HONOR.
 18                   THE COURT:     DO YOU HAVE ANY OBJECTION
 19     TO THE PRESENTENCE REPORT?
 20                   MR. BROWER:     NO, YOUR HONOR.
 21                   THE COURT:     GOVERNMENT, DO YOU HAVE ANY
 22     OBJECTIONS TO THE PRESENTENCE REPORT?
 23                   MS. BURRELL:     NO, WE DO NOT, YOUR
 24     HONOR.
 25                   THE COURT:     THERE BEING NO OBJECTIONS,
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 3 of 15 3
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 190 of 204

   1    THE COURT ADOPTS THE FACTUAL STATEMENTS CONTAINED
   2    IN THE PRESENTENCE REPORT AND MAKES SPECIFIC
   3    FINDINGS THAT THE GUIDELINES OFFENSE LEVEL IS 43,
   4    CRIMINAL HISTORY CATEGORY IS ROMAN NUMERAL I, AND
   5    THE ADVISORY GUIDELINE IMPRISONMENT RANGE IS A
   6    TERM OF LIFE.
   7                  FURTHER, THE SUPERVISED RELEASE PERIOD
   8    IS ANY TERM OF YEARS NOT LESS THAN FIVE YEARS AND
   9    UP TO LIFE, AND A FINE RANGE OF $25,000 TO
 10     $250,000.
 11                   I WILL SAY THIS.      THE COURT IS NOT
 12     BOUND BY THE GUIDELINE RANGE.          THE COURT IS TO
 13     CONSIDER IT.      BUT MY OBLIGATION IS TO SENTENCE THE
 14     DEFENDANT TO A SENTENCE WHICH IS SUFFICIENT BUT
 15     NOT MORE THAN NECESSARY TO ACCOMPLISH THE
 16     SENTENCING GOALS SET FORTH IN THE FEDERAL
 17     STATUTES.
 18                   WITH THAT SAID, IS THERE GOING TO BE
 19     ANY TESTIMONY?
 20                   MS. BURRELL:     WE DO NOT HAVE ANY
 21     TESTIMONY, YOUR HONOR, BUT I WOULD LIKE TO ADMIT
 22     AN EXHIBIT INTO EVIDENCE SO THAT YOU CAN SEAL IT
 23     AND IT WILL GO WITH THE RECORD.           I PROVIDED THE
 24     DEFENSE ATTORNEY WITH A COPY OF IT ALTHOUGH HE HAS
 25     SEEN IT PREVIOUSLY TO TODAY.          THIS PICTURE IS THE
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 4 of 15 4
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 191 of 204

   1    SUBJECT MATTER IN COUNTS 43 AND 44 OF THE
   2    INDICTMENT.
   3                  THE COURT:     IS THIS THE SAME ONE THAT
   4    YOU INTRODUCED IN THE LAST HEARING?
   5                  MS. BURRELL:      YES.
   6                  THE COURT:     AND THIS WILL BE
   7    GOVERNMENT'S EXHIBIT ONE?
   8                  MS. BURRELL:      YES.
   9                  THE COURT:     ANY OBJECTION?
 10                   MR. BROWER:     NO OBJECTION, YOUR HONOR.
 11                   THE COURT:     ALL RIGHT.     IT WILL BE
 12     ADMITTED.     AND DO YOU HAVE AN ENVELOPE?          IF IT'S
 13     EMPTY.    IF IT'S NOT EMPTY, WE CAN GET ONE.           WE'LL
 14     JUST GET ONE.
 15                   ALL RIGHT.     WOULD YOU AND YOUR CLIENT
 16     COME TO THE PODIUM, PLEASE?
 17                   IT'S MY UNDERSTANDING THAT RESTITUTION
 18     IS NOT AN ISSUE IN THE CASE.
 19                   MS. BURRELL:     THAT'S CORRECT, YOUR
 20     HONOR.
 21                   THE COURT:     AND WILL YOU BE WITHDRAWING
 22     YOUR REQUEST THAT THE EVIDENCE BE FORFEITED?
 23                   MS. BURRELL:     YES, I WILL, YOUR HONOR.
 24                   THE COURT:     MR. BROWER, DO YOU HAVE
 25     ANYTHING TO SAY IN MITIGATION OR OTHERWISE BEFORE
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 5 of 15 5
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 192 of 204

   1    I PRONOUNCE THE SENTENCE OF LAW UPON YOUR CLIENT?
   2                  MR. BROWER:     YES, YOUR HONOR.       AS THE
   3    COURT'S AWARE, YESTERDAY I FILED A SENTENCING
   4    MEMORANDUM.      YOUR HONOR, I WOULD ESSENTIALLY RELY
   5    ON MY SENTENCING MEMORANDUM THAT I FILED; HOWEVER,
   6    I WOULD STATE THAT AS WE ASK FOR IN THE SENTENCING
   7    MEMORANDUM THAT YOUR HONOR SENTENCE THE DEFENDANT
   8    TO A TERM OF IMPRISONMENT OF 360 MONTHS AS TO
   9    COUNT 11 AND CONSECUTIVE 180 MONTHS FOR ALL
 10     REMAINING COUNTS CONCURRENTLY.
 11                   YOUR HONOR, THE DEFENDANT, OBVIOUSLY
 12     THE GUIDELINES ARE ADVISORY.          THE RECOMMENDATION
 13     UNDER THE GUIDELINES FOR CONSECUTIVE SENTENCES
 14     AMOUNTS TO A 750 YEAR SENTENCE WHICH IS ABSOLUTELY
 15     MORE THAN NECESSARY IN THIS CASE TO INSURE THAT
 16     MR. AYERS NEVER GETS OUT OF PRISON.            AND SO YOUR
 17     HONOR, WE WOULD ASK THAT RATHER THAN SENTENCING
 18     HIM TO A 750 YEAR SENTENCE THAT YOUR HONOR
 19     SENTENCE HIM TO A TOTAL OF 45 YEARS, AND WE
 20     BELIEVE THAT'S SUFFICIENT BUT NOT GREATER THAN
 21     NECESSARY TO MEET ALL THE SENTENCING MANDATES SET
 22     OUT IN THE UNITED STATES CODE.
 23                   THE COURT:     ALL RIGHT.     MR. AYERS, THIS
 24     IS YOUR OPPORTUNITY TO SAY ANYTHING THAT YOU WOULD
 25     LIKE TO SAY IN MITIGATION OR OTHERWISE BEFORE I
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 6 of 15 6
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 193 of 204

   1    PRONOUNCE THE SENTENCE OF LAW UPON YOU.             DO YOU
   2    HAVE ANYTHING THAT YOU WOULD LIKE TO SAY?
   3                  THE DEFENDANT:      YES, SIR.     THERE IS
   4    NOTHING THAT I CAN SAY ACTUALLY TO MITIGATE OR
   5    JUSTIFY ANY OF THE DECISIONS THAT I HAVE MADE.               I
   6    CAN'T EVEN -- THINKING BACK, I CAN'T IDENTIFY WITH
   7    THE PERSON THAT MADE THOSE DECISIONS.            I DON'T
   8    UNDERSTAND WHAT I WAS THINKING OR NOT THINKING.               I
   9    HAVE COME TO TERMS WITH WHAT I HAVE DONE AS MUCH
 10     AS I AM ABLE TO.       I HAVE GONE BACK TO MY ROOTS
 11     RELIGIOUSLY.      GOD'S FORGIVEN ME BUT NOW I HAVE TO
 12     DEAL WITH MAN'S COURT.        I HAVE BROKEN THE LAW.
 13     THERE IS NOTHING MORE THAT I CAN SAY.            I NEED TO
 14     APOLOGIZE FOR EVERYTHING.         I HAD A RESPONSIBILITY
 15     AND I DROPPED THE BALL.         I MORE THAN DROPPED THE
 16     BALL.    WORDS CAN'T EXPRESS IT.        I'M SORRY ISN'T
 17     ENOUGH.
 18                   THE COURT:     OKAY.
 19                   THE DEFENDANT:      I GUESS THAT'S IT.
 20                   THE COURT:     GOVERNMENT?
 21                   MS. BURRELL:     YOUR HONOR, AS I SAID IN
 22     THE PREVIOUS HEARING AND I WANT TO REITERATE IT IN
 23     THIS HEARING, THERE ARE JUST SOME CRIMES THAT ARE
 24     SO BAD THAT IF A PERSON COMMITS THAT CRIME, THAT
 25     PERSON HAS FORFEITED HIS RIGHT TO LIVE IN A FREE
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 7 of 15 7
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 194 of 204

   1    SOCIETY.     AND I ARGUED IN THE LAST HEARING AND I
   2    AM ARGUING IN THIS ONE THAT THIS IS ONE OF THOSE
   3    CRIMES, YOUR HONOR.
   4                  I KNOW YOU HAVE READ MY SENTENCING
   5    MEMO.    I WANTED TO HIGHLIGHT SOME OF THE MORE
   6    GRAPHIC THINGS THAT HAPPENED IN THIS CASE IN THE
   7    PREVIOUS HEARING, AND I UNDERSTAND THE REASONS WHY
   8    THAT YOU PREFER JUST TO READ THE SENTENCING MEMO
   9    AND HAVE THE SENTENCING MEMO BE A PART OF THE
 10     RECORD, SO I AM GOING TO RESPECT THAT.
 11                   BUT YOUR HONOR, THE THINGS THAT I
 12     OUTLINED IN THE SENTENCING MEMO AS YOU CAN
 13     UNDERSTAND ARE REASONS WHY THIS CASE MANDATES A
 14     750 YEAR SENTENCE.       I HAVE ADMITTED GOVERNMENT'S
 15     EXHIBIT ONE; I ADMITTED THE SAME PHOTOGRAPH IN THE
 16     PREVIOUS HEARING.       THAT PHOTOGRAPH THAT I HAVE
 17     GIVEN TO YOU, YOUR HONOR, IS NOT ONE OF THE MOST
 18     GRAPHIC PHOTOGRAPHS THAT WE HAD.           AS A MATTER OF
 19     FACT, IT'S PROBABLY ONE OF THE LEAST GRAPHIC
 20     PHOTOGRAPHS THAT WE HAVE GOT IN THIS NOTEBOOK OF
 21     OVER 50 PICTURES THAT THIS DEFENDANT AND HIS WIFE
 22     MADE OF THEIR EIGHT-YEAR-OLD DAUGHTER.            BUT THE
 23     THING THAT IS SO SAD ABOUT THAT PHOTOGRAPH THAT I
 24     GAVE TO YOU IS IF YOU LOOK IN THAT CHILD'S EYES,
 25     TO ME, WHICH IS THE FIRST THING THAT YOU LOOK AT
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 8 of 15 8
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 195 of 204

   1    WHEN YOU LOOK IN THAT PICTURE, YOU SEE EXACTLY
   2    WHAT THEY DID TO THIS CHILD, WHICH IS ROBBING HER
   3    OF HER CHILDHOOD AND STEALING HER SOUL.
   4                  YOUR HONOR, THAT'S REALLY ALL I HAVE
   5    GOT TO SAY.      I CAN'T SAY ANYTHING ELSE TO CONVEY
   6    TO THE COURT HOW AWFUL THIS CASE WAS.            AND IF
   7    THERE WAS EVER A CASE WHERE SOMEBODY DESERVES TO
   8    BE SENTENCED TO 750 YEARS, IT'S THIS ONE.
   9                  THE COURT:     OKAY.    I AM NOT BOUND BY
 10     THE SENTENCING GUIDELINE RANGE BUT MY OBLIGATION
 11     IS TO CRAFT A SENTENCE WHICH IS SUFFICIENT BUT NOT
 12     MORE THAN NECESSARY TO ACCOMPLISH THE SENTENCING
 13     GOALS SET FORTH IN THE FEDERAL STATUTES, AND THE
 14     SENTENCING GOALS IN THE FEDERAL STATUTES ARE
 15     SEVERAL.     AND I HAD THE OPPORTUNITY TO SENTENCE
 16     YOUR -- I DON'T KNOW WHETHER SHE IS STILL YOUR
 17     WIFE OR EX-WIFE OR WHATEVER, BEFORE THIS.             AND I
 18     GAVE HER THE MAXIMUM I COULD, AND I THINK THAT WAS
 19     APPROPRIATE.      AND I THINK IT'S APPROPRIATE FOR YOU
 20     TO GET THE MAXIMUM YOU CAN IN YOUR CASE.
 21                   IT'S NOT THAT YOU ARE NOT REDEEMABLE
 22     BECAUSE EVERYBODY IS, NO MATTER WHAT THEY DO.              AND
 23     I AM HAPPY THAT YOU RECOGNIZE THAT.            BUT IT'S THAT
 24     WE ALL HAVE CONSEQUENCES THAT WE HAVE TO
 25     EXPERIENCE AND SUFFER HERE WHEN WE VIOLATE THE LAW
    Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 9 of 15 9
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 196 of 204

   1    AND DO THINGS LIKE THIS, PARTICULARLY TO CHILDREN,
   2    WHEN WE TAKE THE SOUL OF A CHILD.           WHEN WE TAKE
   3    THEIR CHILDHOOD AWAY, THIS CHILD WILL HAVE TO DEAL
   4    WITH THIS THE REST OF HER LIFE.           AND THAT'S
   5    REGRETTABLE.      I AM GLAD YOU RECOGNIZE WHAT YOU
   6    DID.
   7                  NOW, YOUR SENTENCE IS NOT GOING TO BE
   8    NEAR THE SENTENCE, FRANKLY, OF YOUR WIFE, BUT THE
   9    NET EFFECT IS GOING TO BE THE SAME.            YOU WILL BE
 10     IN PRISON THE REST OF YOUR LIFE.           SO, ANYWAY, I
 11     THINK THAT'S APPROPRIATE WHEN I CONSIDER THE
 12     NATURE AND CIRCUMSTANCES OF THIS OFFENSE, WHAT
 13     ACTUALLY TRANSPIRED.        I HOPE THAT IF THERE EVER IS
 14     AN APPEAL OF THIS SENTENCE THAT THE REVIEWING
 15     COURT LOOKS AT THE EXHIBIT, READS CAREFULLY WHAT
 16     OCCURRED IN THIS CASE, BECAUSE THE CIRCUMSTANCES
 17     OF WHAT HAPPENED ARE EGREGIOUS.           IT'S PERHAPS ONE
 18     OF THE WORST CASES THAT I HAVE DEALT WITH SINCE I
 19     HAVE BEEN A JUDGE SINCE 1998, AND THAT INCLUDES
 20     MURDER CASES AND RAPE CASES AND ALL KINDS OF CASES
 21     THAT I HAVE HAD TO DEAL WITH.
 22                   BUT REGARDLESS, WITH REGARD TO COUNTS
 23     11, 13, 15 17, 19, 21, 23, 25, 27, 29, 31, 33, 35,
 24     37, 39, 41, 43, 45, 47, 49, 51, 53, 55, 57 AND 89,
 25     I ORDER YOU REMANDED TO THE CUSTODY OF THE BUREAU
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 10 of 15 10
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 197 of 204

   1    OF PRISONS TO BE IMPRISONED FOR A PERIOD OF 360
   2    MONTHS AS TO EACH COUNT, WITH EACH COUNT RUN
   3    CONSECUTIVE TO THE OTHERS.
   4                  IN OTHER WORDS, THE TOTAL SENTENCE WILL
   5    BE 9,000 MONTHS OR A TOTAL OF 750 YEARS.
   6                  UPON YOUR RELEASE FROM IMPRISONMENT,
   7    WHICH I DON'T THINK YOU WILL BE RELEASED, BUT
   8    UNDER THE OPERATION OF SOME LAW OR CHANGE OF LAW
   9    YOU BECOME RELEASED FROM IMPRISONMENT, I ORDER YOU
 10     BE PLACED ON SUPERVISED RELEASE FOR A PERIOD OF
 11     LIFE.    I AM NOT GOING TO IMPOSE A FINE DUE TO YOUR
 12     INABILITY TO PAY A FINE.         AND I AM NOT GOING TO
 13     ORDER RESTITUTION AS THERE IS NO REQUEST FOR
 14     RESTITUTION.
 15                   I DO ORDER YOU PAY A SPECIAL ASSESSMENT
 16     FEE IN THE AMOUNT OF $2,500 TO THE UNITED STATES
 17     GOVERNMENT; THAT'S DUE IMMEDIATELY.            THE EVEN-
 18     NUMBERED COUNTS, 12 THROUGH 90 -- EXCUSE ME, 12
 19     THROUGH 58 AND COUNT 90 AND COUNT 107 NEED TO BE
 20     DISMISSED ON MOTION OF THE GOVERNMENT.
 21                   MS. BURRELL:     YOUR HONOR, WE WOULD MOVE
 22     TO DISMISS THOSE COUNTS.
 23                   THE COURT:     NOT THE ODD COUNTS I HAVE
 24     SENTENCED HIM ON BUT JUST THE EVEN COUNTS THAT I
 25     JUST MENTIONED, 12 THROUGH 58, THE EVEN COUNTS OF
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 11 of 15 11
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 198 of 204

   1    THOSE, COUNT 90 AND COUNT 107 ONLY ARE DISMISSED.
   2    THE COUNTS THAT I ORDERED THE SENTENCE UPON WILL
   3    NOT BE DISMISSED.
   4                  THE GOVERNMENT IS WITHDRAWING THEIR
   5    REQUEST FOR CRIMINAL FORFEITURE, SO I WILL NOT BE
   6    ENTERING A CRIMINAL FORFEITURE.           WHILE YOU ARE ON
   7    SUPERVISED RELEASE, YOU WILL COMPLY WITH THE
   8    STANDARD AND MANDATORY CONDITIONS OF SUPERVISED
   9    RELEASE AS WELL AS THE FOLLOWING SPECIAL
 10     CONDITIONS.
 11                   YOU SHALL NOT HAVE ANY UNSUPERVISED,
 12     ONE-TO-ONE CONTACT WITH ANY CHILDREN UNDER THE AGE
 13     OF 18 AT ALL, INCLUDING YOUR OWN CHILDREN.             YOU
 14     SHALL NOT ENGAGE IN ANY OCCUPATION, EMPLOYMENT OR
 15     VOLUNTEER ACTIVITIES WHICH WOULD PLACE YOU IN A
 16     POSITION OF TRUST WITH CHILDREN UNDER THE AGE OF
 17     18.
 18                   PURSUANT TO THE ADAM WALSH CHILD
 19     PROTECTION ACT OF 2006, YOU SHALL REGISTER AS A
 20     SEX OFFENDER NO LATER THAN THREE BUSINESS DAYS
 21     FROM YOUR RELEASE FROM IMPRISONMENT.            YOU SHALL
 22     KEEP YOUR REGISTRATION CURRENT IN EACH
 23     JURISDICTION IN WHICH YOU RESIDE OR YOU ARE
 24     EMPLOYED OR YOU ARE A STUDENT AND YOU SHOULD, NO
 25     LATER THAN THREE BUSINESS DAYS AFTER EACH CHANGE
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 12 of 15 12
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 199 of 204

   1    IN YOUR NAME, RESIDENCE, EMPLOYMENT, OR STATUS AS
   2    A STUDENT APPEAR IN PERSON IN AT LEAST ONE
   3    JURISDICTION IN WHICH YOU ARE REGISTERED AND
   4    INFORM THAT JURISDICTION OF ALL CHANGES IN YOUR
   5    INFORMATION.      FAILURE TO DO SO WILL NOT ONLY BE A
   6    VIOLATION OF THIS CONDITION BUT COULD BE A NEW
   7    FEDERAL OFFENSE PUNISHABLE BY UP TO TEN YEARS
   8    IMPRISONMENT.
   9                  YOU SHALL ALLOW THE PROBATION OFFICE
 10     ACCESS TO ANY PHOTOGRAPHS OR VIDEO RECORDINGS YOU
 11     MAY POSSESS.      BEING A FELON AND BEING REQUIRED TO
 12     REGISTER UNDER THE SEX OFFENDER ACT --
 13     REGISTRATION AND NOTIFICATION ACT, EXCUSE ME, YOU
 14     SHALL SUBMIT TO YOUR PERSON, PROPERTY, HOUSE,
 15     RESIDENCE, VEHICLE, PAPERS, COMPUTERS, OR OTHER
 16     ELECTRONIC COMMUNICATIONS OR DATA STORAGE DEVICES
 17     OR MEDIA AND EFFECTS TO SEARCH AT ANY TIME WITH OR
 18     WITHOUT A WARRANT BY ANY LAW ENFORCEMENT OR
 19     PROBATION OFFICER WITH REASONABLE SUSPICION
 20     CONCERNING A VIOLATION OF A CONDITION OF
 21     SUPERVISED RELEASE OR UNLAWFUL CONDUCT.
 22                   YOU SHALL PARTICIPATE IN AN APPROVED
 23     MENTAL HEALTH TREATMENT PROGRAM SPECIALIZING IN
 24     SEX OFFENDER TREATMENT UNDER THE ADMINISTRATIVE
 25     SUPERVISION OF THE PROBATION OFFICE.            THAT PROGRAM
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 13 of 15 13
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 200 of 204

   1    MAY INCLUDE PSYCHOSEXUAL EVALUATION, FAMILY, GROUP
   2    AND/OR INDIVIDUAL COUNSELING AND PSYCHOLOGICAL AND
   3    CLINICAL POLYGRAPH TESTING.          THE RESULTS OF THE
   4    POLYGRAPH EXAMINATIONS MAY NOT BE USED AS EVIDENCE
   5    IN COURT FOR THE PURPOSE OF REVOCATION OF
   6    SUPERVISED RELEASE BUT MAY BE CONSIDERED IN A
   7    HEARING TO MODIFY CONDITIONS OF RELEASE.
   8                  WHILE PARTICIPATING IN TREATMENT, YOU
   9    SHALL ABIDE BY ALL RULES AND REQUIREMENTS OF THE
 10     PROGRAM AND YOU SHALL CONTRIBUTE TO THE COST OF
 11     THE TREATMENT AND POLYGRAPH TESTING UNLESS IT IS
 12     DETERMINED THAT YOU DO NOT HAVE THE ABILITY TO DO
 13     THAT.
 14                   ALL RIGHT.     ARE THERE ANY OBJECTIONS
 15     FROM ANY PARTY AS TO FINDINGS OF FACT, THE
 16     CALCULATION OF THE SENTENCE OR THE MANNER IN WHICH
 17     THE SENTENCE WAS PRONOUNCED OR IMPOSED?             FROM THE
 18     GOVERNMENT?
 19                   MS. BURRELL:     NONE FROM THE GOVERNMENT,
 20     YOUR HONOR.
 21                   THE COURT:     FROM THE DEFENSE?
 22                   MR. BROWER:     YOUR HONOR, ON BEHALF OF
 23     MR. AYERS, WE WOULD OBJECT TO THE SENTENCE AS MORE
 24     THAN NECESSARY TO ACCOMPLISH THE SENTENCING GOALS,
 25     AND EXCESSIVE, AND STATE THAT WE BELIEVE THAT THE
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 14 of 15 14
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 201 of 204

   1    SENTENCE IS IN EXCESS OF WHAT IS NECESSARY IN THIS
   2    CASE.
   3                  THE COURT:     OKAY.    YOU HAVE THE RIGHT
   4    TO APPEAL THE SENTENCE IMPOSED WITHIN 14 DAYS IF
   5    YOU BELIEVE THAT SENTENCE IS IN VIOLATION OF THE
   6    LAW; HOWEVER, YOU MAY HAVE WAIVED SOME OR ALL OF
   7    YOUR RIGHTS TO APPEAL AS PART OF YOUR PLEA
   8    AGREEMENT.     IF YOU DID, SUCH WAIVERS ARE GENERALLY
   9    FOUND TO BE ENFORCEABLE.         WITH FEW EXCEPTIONS, ANY
 10     NOTICE OF APPEAL MUST BE FILED WITHIN 14 DAYS OF
 11     JUDGMENT BEING ENTERED IN YOUR CASE.
 12                   IF YOU ARE UNABLE TO PAY THE COST OF AN
 13     APPEAL, YOU MAY APPLY FOR LEAVE TO APPEAL IN FORMA
 14     PAUPERIS AND FOR THE APPOINTMENT OF COUNSEL.              IF
 15     GRANTED, THE CLERK OF COURT WILL ASSIST YOU IN
 16     PREPARING AND FILING YOUR NOTICE OF APPEAL.
 17                   ALL RIGHT.
 18                   MR. BROWER:     THANK YOU, YOUR HONOR.
 19                   THE COURT:     OKAY.    THANK YOU.     BE
 20     CAREFUL GOING HOME.
 21                              (COURT IN RECESS.)
 22
 23
 24
 25
   Case 5:14-cr-00117-LSC-SGC Document 51 Filed 03/16/15 Page 15 of 15 15
USCA11 Case: 14-15040 Document: 13 Date Filed: 05/08/2015 Page: 202 of 204

   1    **************************************************
   2                     C E R T I F I C A T E
   3    ******************************************
   4    IN RE:      USA V. MATTHEW DAVID AYERS
   5    CASE #:       5:14-CR-117-LSC
   6
   7              I HEREBY CERTIFY THAT THE FOREGOING
   8    TRANSCRIPT IN THE ABOVE-STYLED CAUSE IS
   9    TRUE AND ACCURATE.
 10     __________________________               MARCH 13, 2015
 11     LINDY M. FULLER, RMR, CRR, CBC                 DATE
 12     FEDERAL OFFICIAL COURT REPORTER
 13     HUGO L. BLACK U.S. COURTHOUSE
 14     1729 5TH AVENUE NORTH, SUITE 207
 15     BIRMINGHAM, ALABAMA        35203
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USCA11 Case: 14-15040   Document: 13   Date Filed: 05/08/2015   Page: 203 of 204




                                   B
USCA11 Case: 14-15040     Document: 13    Date Filed: 05/08/2015   Page: 204 of 204



                        CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing
Record Appendix has this day been mailed, proper postage prepaid to Joyce
Vance, United States Attorney, Northern District of Alabama, 1801 4th Ave. N.
Birmingham, Alabama 35203 and Matthew David Ayers #00298396, Limestone
Correctional Facility, 28779 Nick Davis Rd., Harvest, Alabama 35749, this the 8th
day of May, 2015.

                                                  /s/ W. Scott Brower
                                                  W. Scott Brower
